 Case 2:19-cv-11100-LVP-EAS ECF No. 1, PageID.1 Filed 04/16/19 Page 1 of 69




                    UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF MICHIGAN

  ROBIN LATORRE, PATRICIA
  ANDERSON, and ARKENDIA                        Case No.:
  WILLIAMS individually and on behalf
  of a class of similarly situated
  individuals,
                                                CLASS ACTION COMPLAINT
                  Plaintiffs,
                                                JURY TRIAL DEMANDED
           v.

  GENERAL MOTORS LLC, a
  Delaware limited liability company,

                  Defendant.



                                   INTRODUCTION

      Plaintiffs Robin LaTorre (“Ms. LaTorre”), Patricia Anderson (“Ms.

Anderson”), and Arkendia Williams (“Ms. Williams”), and (collectively,

“Plaintiffs”) bring this action individually and on behalf of all persons in the United

States who purchased or leased a 2010 through and including 2015 Cadillac SRX

designed, manufactured, marketed, distributed, sold, warranted, and serviced by

Defendant General Motors LLC, (“GM”) (hereinafter, the “Class Vehicles”)

(owners and lessees of Class Vehicles hereinafter, the “Class Members”). Plaintiffs

allege the following:

      1.     This case arises out of a design defect that poses a significant safety

hazard for thousands of consumers.


                                          1
 Case 2:19-cv-11100-LVP-EAS ECF No. 1, PageID.2 Filed 04/16/19 Page 2 of 69




      2.     Upon information and belief, over 300,000 Class Vehicles have been

sold or leased in the United States.

      3.     Upon information and belief, the seals GM uses in the Class Vehicles

headlights’ exterior housing units wear out prematurely, thereby allowing moisture

to accumulate and condense. The moisture causes the headlights to malfunction

and/or fail because it corrodes the lamp assembly components and/or because it

causes electrical shorts (hereinafter, the “Headlight Defect”).

      4.     As a result of the Headlight Defect, the Class Vehicles present a

safety hazard and constitute a danger to consumers. The Headlight Defect can

result in very dim light output or no light at all. Such malfunctions will necessarily

result in low visibility at best, which can contribute to injurious, or even fatal,

traffic accidents. Indeed, purchasers of the Class Vehicles have complained to the

National Highway Traffic Safety Administration (“NHTSA”) of accidents or near

accidents as a result of the Headline Defect. Hundreds more have complained to

the NHTSA and in online forums of the challenges of driving with dim light output

and their fears of an accident.

      5.     By way of just one example, an owner of a 2012 SRX complained to

the NHTSA just days ago that the Headlight Defect caused an accident that

resulted in the vehicle becoming airborne:

             I had an accident due to the low beam lights on my 2012
             Cadillac SRX. It was still dark at 5:30AM when I failed to

                                           2
    Case 2:19-cv-11100-LVP-EAS ECF No. 1, PageID.3 Filed 04/16/19 Page 3 of 69




              see the outer road turned which caused me to collide with
              a curb and become airborne. This accident caused 3 blown
              out tires and 2 ruined rims. This cost me $1700 and it was
              all caused by the extremely dim low beam headlights.

        6.    An owner of a 2014 SRX described fears of driving at night due to

the Headlight Defect:

              I am scared to death to drive my car at night. The low beam
              lights are horrible. I ask the dealer if there was a recall and
              they always say no. It is bad to avoid driving at night and
              missing out on things with family and friends. I have
              cancer and it sure would be nice to enjoy driving with the
              time I have left. Shame on you Cadillac.1

       7.     Recent complaints in October and December 2018 further underscore

a wide range of concerns associated with the Headlight Defect, including

accidents, the cost of replacement, and risk of traffic tickets:

              While driving our car at night we encounter poor visibility
              to almost no visibility. Bright beams work but we can't
              drive legally with bright beams on. This has occurred
              always at night, on the highway, on city streets and
              traveling through the mountains. On a dark night, the light
              cast is so poor that the lane lines are not visible. I have
              had several near hits due to this problem and I wonder if
              other vehicles aren't seeing our car. This headlight system
              is dangerous and could be deadly. The most recent
              episode was while driving through the mountains from
              [T]ennessee to [O]hio.2

1
  Poor Headlight Visibility, Carcomplaints.com,
https://www.carcomplaints.com/Cadillac/SRX/2014/lights/poor_headlight_visibilit
y.shtml/ (last visited April 10, 2019). (Exhibit 1)
2
  Headlights Problems of Cadillac SRX – part 1, carproblemszoo.com,
http://www.carproblemzoo.com/cadillac/srx/headlights-problems.php (last visited
April 10, 2019). (Exhibit 2)

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    Case 2:19-cv-11100-LVP-EAS ECF No. 1, PageID.4 Filed 04/16/19 Page 4 of 69




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              I’ve only had this car for 6 months, why is there
              condensation inside the lens. I refuse to have to continue
              to pay to have light replaced for this issue. I cant replace
              the bulb myself seeing that the whole damn bumper has to
              be taken off. This is not ok so this needs to be fixed asap.
              People don’t have $$$ laying around every time a bulb
              burns out because of water/condensation inside to take it
              to someone that gonna charge you 2 or 3 hundred dollars a
              pop.3

                                          ***


              I can’t drive my car at night because the headlight lens are
              so fogged up it does not let the light come through to see
              what is front of me. I’ve been pulled over twice and cops
              told me they thought I was driving at night with just my
              driving lights on and warned me to get fixed. The deal
              told me its common with this car and said it will cost me
              $2300.00 to get it fixed.4

        8.    GM was aware of the Headlight Defect and the associated safety

concerns. In fact, it issued several Technical Service Bulletins (“TSBs”) to dealers

regarding the problem. However, GM did not notify the putative class members,

warn future purchasers of the defect or change its vehicle advertising to reflect the

defect.



3
  Water in Lights, Carcomplaints.com,
https://www.carcomplaints.com/Cadillac/SRX/2010/lights/water_in_lights.shtml
(last visited April 10, 2019). (Exhibit 3)
4
  Id.

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 Case 2:19-cv-11100-LVP-EAS ECF No. 1, PageID.5 Filed 04/16/19 Page 5 of 69




      9.     The protocol in the TSBs is inadequate to resolve the Headlight Defect.

      10.    To make matters worse, rather than redesigning the defective

components and installing non-defective ones, GM purports to “repair” the Class

Vehicles but instead it simply replaces the complained-of components with the

very same defectively designed parts and components.

      11.    Thus, Class Vehicle owners incur costs in the amount of thousands of

dollars for diagnosing, repairing, or replacing the headlights and their component

parts. Indeed, the NHTSA is replete with complaints that the costs are well above

$1,500, and sometimes as high as $5,000.

      12.    These costs are out-of-pocket because GM refuses to extend the

warranty to cover them. In doing so, GM unfairly shifts the costs to the Class

Members and benefits from the revenue generated by repeat repairs when consumers

are required to pay multiple hundreds of dollars to repair or replace the headlights

and related components as a result of the Headlight Defect, while GM is unjustly

enriched at their expense.

      13.    On information and belief, all Class Vehicles are equipped with the

same or substantially identical headlight assemblies, and the Headlight Defect is the

same for all Class Vehicles.

      14.    Beginning as early as 2010, through consumer complaints and

dealership repair orders, among a myriad of other internal sources and means, GM


                                         5
 Case 2:19-cv-11100-LVP-EAS ECF No. 1, PageID.6 Filed 04/16/19 Page 6 of 69




knew or should have known that the Headlight Defect in the Class Vehicles present

a safety hazard.

      15.    On information and belief, GM’s corporate officers, directors, or

managers knew about the Headlight Defect and failed to disclose it to Plaintiffs and

purchasers at the time of sale, lease, repair, and all times thereafter.

      16.    In fact, as a result of the consumer complaints that it was receiving, GM

issued a Customer Satisfaction Campaign (“CSC”) that covered, inter alia, the 2010

Cadillac SRX and identified a condition caused by the loss of electrical contact

between the halogen headlamp connectors and low beam head lamp bulbs that

“could cause the headlamp and/or daytime running lamp to work intermittently.”

CSC No. 10043330-5822. The CSC offered to reimburse customers who had paid

for this repair, however, as noted earlier, GM simply replaced the headlamps with

the same defectively designed parts.

      17.    After the CSC, GM did not remedy the Headlight Defect; and in fact,

never notified the public or its consumers, including the Class Members, that it was

selling the Class Vehicles with a defective Headlight which was the same or

substantially similar to the type that had been the subject of the CSC.

      18.    Just weeks ago, GM also sent out a notice to some putative class

members providing them with reimbursement for prior out-of-pocket headlight

replacement costs and the cost of diagnosis of headlights “for moisture-related


                                           6
 Case 2:19-cv-11100-LVP-EAS ECF No. 1, PageID.7 Filed 04/16/19 Page 7 of 69




issues.” GM also offers to replace the headlamps “if you believe it is necessary.”

      19.    GM’s latest effort is inadequate for several reasons.

      20.    First, GM’s notice did not sufficiently reach Class Members. Only

some Class Members received such a notice—indeed, none of the Plaintiffs received

it, though their vehicles suffer from the Headlight Defect.

      21.    Second, GM, once again, has neither remedied the Headlight Defect nor

issued a comprehensive recall of all Class Vehicles. Instead, it offers just

reimbursement for prior repair costs or a diagnosis and replacement of the headlamp.

But GM will only provide reimbursement up to $1,600, hundreds less than what

many Class Members have had to pay to replace their headlamps. GM also does not

pay for any diagnosis and replacement up front. Rather, it places the onus on the

individual first to seek and pay out of pocket for a diagnosis and replacement if he

or she “believe[s] it is necessary” and GM would issue a reimbursement. Notably,

GM requires a person to do any diagnosis and replacement within 90 days of the

date of the letter, even though problems associated with the Headlight Defect may

surface only after that time period. Moreover, GM, as noted above, simply replaces

the headlamps with the same defectively designed parts.

      22.    Because GM has failed to notify Class Members of the Headlight

Defect and has taken wholly inadequate steps to address the issue, Plaintiffs and

Class Members continue to use vehicles with a defect that creates dangerous and


                                          7
 Case 2:19-cv-11100-LVP-EAS ECF No. 1, PageID.8 Filed 04/16/19 Page 8 of 69




unexpected driving hazards and causes accidents.

      23.    The Headlight Defect is inherent and was present in all of the Class

Vehicles at the time of sale.

      24.    GM knew about the Headlight Defect, along with its accompanying

dangerous safety effects, and GM concealed its knowledge from Plaintiffs and Class

Members at the time of sale, lease, repair, and all times thereafter. In fact, instead of

repairing the defects in the defective headlights, GM either refused to acknowledge

the existence of the Headlight Defect or performed replacement “repairs” that simply

concealed its design defects.

      25.    If Plaintiffs had known about the Headlight Defect at the time of sale

or lease, Plaintiffs and Class Members would have paid less for the Class Vehicles or

may not have purchased or leased them.

      26.    As a result of their reliance on GM’s omissions, owners and/or lessees

of the Class Vehicles suffered an ascertainable loss of money, property, and/or value

of their Class Vehicles, including expenses for headlight-related repairs. As a result

of the Headlight Defect, Plaintiffs and Class Members were harmed and suffered

actual damages.

                                   THE PARTIES

      27.    Plaintiff Robin LaTorre is a citizen of the state of New York who




                                           8
 Case 2:19-cv-11100-LVP-EAS ECF No. 1, PageID.9 Filed 04/16/19 Page 9 of 69




resides in Kingston, New York.

      28.    Plaintiff Patricia Anderson is a citizen of the state of Maryland who

resides in Upper Marlboro, Maryland.

      29.    Plaintiff Arkendia Williams is an Ohio citizen who resides in Maple

Heights, Ohio.

      30.    Defendant General Motors LLC is a Delaware limited liability

company with its principal place of business located at 300 Renaissance Center,

Detroit, Michigan. The sole member and owner of General Motors LLC is General

Motors Holdings LLC. General Motors Holdings LLC is a Delaware limited liability

company with its principal place of business in the State of Michigan. General

Motors Holdings LLC’s only member is General Motors Company, a Delaware

corporation with its principal place of business in the State of Michigan. General

Motors Company has 100% ownership interest in General Motors Holdings LLC.

      31.    General Motors LLC (“GM”), through its various entities, designs,

manufactures, markets, distributes, services, repairs, sells, and leases passenger

vehicles, including the Class Vehicles, nationwide. General Motors LLC is the

warrantor and distributor of the Class Vehicles in the United States.

      32.    At all relevant times, GM was and is engaged in the business of

designing, manufacturing, constructing, assembling, marketing, distributing, and

selling automobiles and motor vehicle components throughout the United States.


                                         9
Case 2:19-cv-11100-LVP-EAS ECF No. 1, PageID.10 Filed 04/16/19 Page 10 of 69




                       JURISDICTION AND VENUE

       33.    This Court has original jurisdiction of this action under the Class Action

Fairness Act of 2005. Pursuant to 28 U.S.C. §§ 1332(d)(2) and (6), this Court has

original jurisdiction because the aggregate claims of the putative class members

exceed $5 million, exclusive of interest and costs, and at least one of the members

of the proposed Classes is a citizen of a different state than Defendant GM.

       34.    Jurisdiction is proper in this Court pursuant to 28 U.S.C. §1332(d) as

Plaintiffs and other members of the proposed Classes are citizens of states different

from GM’s state of citizenship.

       35.    Venue is proper in this district pursuant to 28 U.S.C. § 1391 because a

substantial part of the events or omissions giving rise to the claims asserted herein

occurred in this district.

       FACTUAL BACKGROUND AND GENERAL ALLEGATIONS

       36.    Since 2010, GM has designed, manufactured, distributed, sold, and

leased the Class Vehicles equipped with the Headlight Defect nationwide directly

or indirectly through dealers and other retail outlets to thousands of Class

Members.

       37.    Upon information and belief, the seals in the Class Vehicles’ headlight

assemblies wear out or deteriorate unexpectedly and prematurely, allowing moisture

to accumulate and damage the assemblies’ internal components. Upon further


                                          10
Case 2:19-cv-11100-LVP-EAS ECF No. 1, PageID.11 Filed 04/16/19 Page 11 of 69




information and belief, it is alleged that the vents that allow air flow to maintain

pressure and prevent the lenses from cracking increase the tendency for water to

accumulate and condense in the housing units. These defects result in damage to

assembly components, such as corroding igniters and burnt-out bulbs.

      38.    The Class Vehicles are unreasonably dangerous to consumers because

the Headlight Defect prevents their safe operation. For example, as the Headlight

Defect progresses, the excessive accumulation of water or condensation can damage

crucial components—like the igniter and the bulb—resulting in diminished light

output or catastrophic failure. Malfunctioning or inoperative headlights impair

drivers’ ability to operate the vehicles safely, because they decrease drivers’

visibility and make the Class Vehicles themselves more difficult for other drivers or

pedestrians to see. Class Members have also resorted to using their high beams as

their main source of light when driving at night, blinding drivers in front of them or

in the opposite direction. In short, the dim light output resulting from the Headlight

Defect raises the risk of accidents, particularly after dusk, before dawn, or in

inclement weather.

      39.    Indeed, Class Members have already experienced accidents or near

accidents as a result of the Headlight Defect.

      40.    The alleged Headlight Defect is inherent in all Class Vehicles and the

Headlight Defect is the same for all Class Vehicles.


                                         11
Case 2:19-cv-11100-LVP-EAS ECF No. 1, PageID.12 Filed 04/16/19 Page 12 of 69




      41.    The Headlight Defect diminishes the intrinsic and resale value of

Class Vehicles.

      42.    Since at least 2010, GM has been aware of the defective nature of

the headlights but has failed to disclose it to consumers. As a result of GM’s

unfair, misleading, deceptive, and/or fraudulent business practices, in failing to

disclose the Headlight Defect to Plaintiffs and putative class members, Plaintiffs and

the Class Members have suffered injury in fact, incurred damages, and have

otherwise been harmed by Defendants’ conduct.

      43.    Specifically, Plaintiffs and Class Members have experienced accidents,

have had to change their driving habits, including avoiding driving at night or in

inclement weather, and have had to expend substantial money and time attempting

to repair the Headlight Defect. Moreover, had Plaintiffs and the putative class

members known of the Headlight Defect, they would not have purchased or leased

those vehicles, or would have paid substantially less for them. Moreover, because of

the Headlight Defect, the class members’ vehicles have a lower market value, and

are inherently worth less than they would be.

            The Headlight Defect Poses a Significant Safety Hazard

      44.    The Headlight Defect impairs or prevents Plaintiffs and Class Members

from driving the Class Vehicles safely. These hazards include very dim light output

that diminishes visibility or catastrophic failures that effectively preclude visibility.


                                           12
Case 2:19-cv-11100-LVP-EAS ECF No. 1, PageID.13 Filed 04/16/19 Page 13 of 69




Driving with poor visibility due to such conditions presents danger to Plaintiffs and

putative Class Members, other drivers, and pedestrians by significantly increasing

the risk of collisions. No consumer expects to purchase or lease a vehicle that may

be non-operational at before dawn, after dusk, or in inclement weather. The safety

risk imposed by the Headlight Defect is objectively unreasonable.

      45.    Upon information and belief, thousands of purchasers and lessees of

Class Vehicles have experienced problems with the headlights. Complaints filed by

consumers with NHTSA and elsewhere online demonstrate that the defect is

widespread, dangerous, and manifests without warning.

      46.    Upon information and belief, GM, like other car manufacturers,

regularly monitors the NHTSA database for consumer complaints. As such, these

complaints also indicate GM’s awareness of the Headlight Defect and of the

attendant hazards it creates for consumers and the general public.

 Plaintiffs’ Experiences

      Robin LaTorre

      47.    In or about October 2017, Ms. LaTorre purchased a Certified Pre-

Owned 2015 Cadillac SRX from Ingersoll Cadillac of Pawling which is located in

Pawling, New York.

      48.    Prior to purchase, Ms. LaTorre saw television commercials,

magazine advertisements, and magazine reviews, on the vehicle and also test


                                         13
Case 2:19-cv-11100-LVP-EAS ECF No. 1, PageID.14 Filed 04/16/19 Page 14 of 69




drove it.

     49.     In making her purchase, Ms. LaTorre relied on GM’s representations

in its commercials and other advertisements that Class Vehicles would be free from

defects and safe to operate.

     50.     At the time she purchased her 2011 Cadillac SRX, the vehicle’s

odometer read approximately 53,000 miles.

      51.    In November 2017, Ms. LaTorre noticed that the driver’s side headlight

had failed. Since the failure occurred within a month of purchase, Ingersoll Cadillac

of Pawling replaced the headlight as a one-time courtesy.

      52.    In or about January 2018, Ms. LaTorre noticed that the passenger light

looked very dim and was failing to illuminate the road at night.

      53.    Ms. LaTorre’s Cadillac SRX vehicle has and continues to exhibit

the Headlight Defect described herein and she has and will suffer a loss as a

result of the Headlight Defect.

      54.    Ms. LaTorre’s Cadillac SRX headlights continue to malfunction,

and she fears they can fail completely at any time without warning.

      55.    Ms. LaTorre purchased her vehicle primarily for personal, family,

or household use.

      56.    GM did not disclose the Headlight Defect before Ms. LaTorre

purchased her Class Vehicle. Had GM disclosed the Headlight Defect, she would


                                         14
Case 2:19-cv-11100-LVP-EAS ECF No. 1, PageID.15 Filed 04/16/19 Page 15 of 69




not have purchased her Class Vehicle or she would have paid less for it. GM’s

omissions were material to her decision to purchase her Class Vehicle.

      57.    At all times, Ms. LaTorre, like all Class Members, has driven her

vehicle in a foreseeable manner and in the manner in which it was intended to

be used.

      Patricia Anderson

      58.    In or about July 2015, Ms. Anderson purchased a new 2015 Cadillac

SRX from Waldorf Cadillac which is located in Waldorf, Maryland.

      59.    Prior to purchase, Ms. Anderson saw television commercials,

magazine advertisements, magazine reviews on the vehicle,and test drove it.

     60.     In making her purchase, Ms. Anderson relied on GM’s representations

in its commercials and other advertisements that Class Vehicles would be free from

defects and safe to operate.

      61.    Beginning in or about May 2019, Ms. Anderson noticed that the

headlights were failing to illuminate the road at night.

      62.    On May 29, 2018, Ms. Anderson brought her car to Waldorf Cadillac

who informed her that (1) she would have to pay of pocket for replacement parts in

the amount of $1,500, and even if she did, (2) the replacement parts would also

eventually fail. Because of the steep cost and the fact the parts would eventually fail

again, Ms. Anderson did not replace the headlights.


                                          15
Case 2:19-cv-11100-LVP-EAS ECF No. 1, PageID.16 Filed 04/16/19 Page 16 of 69




        63.   Ms. Anderson’s Cadillac SRX vehicle has and continues to exhibit

the Headlight Defect described herein and she has and will suffer a loss as a

result of the Headlight Defect.

        64.   Ms. Anderson’s Cadillac SRX headlights continue to malfunction,

and she fears they can fail completely at any time without warning.

        65.   Ms. Anderson purchased her vehicle primarily for personal, family,

or household use.

        66.   GM did not disclose the Headlight Defect before Ms. Anderson

purchased her Class Vehicle. Had GM disclosed the Headlight Defect, she would

not have purchased her Class Vehicle or she would have paid less for it. GM’s

omissions were material to her decision to purchase her Class Vehicle. At all

times, Ms. Anderson, like all Class Members, has driven her vehicle in a

foreseeable manner and in the manner in which it was intended to be used.

        Arkendia Williams

        67.   In or about September 2017, Ms. Williams purchased a 2011

Cadillac SRX from Toyota of Bedford, which is located in the city of Bedford,

Ohio.

     68.      Prior to purchasing her 2011 Cadillac SRX, Ms. Williams saw

television commercials, magazine advertisements, magazine reviews, on the

vehicle and test drove it.


                                       16
Case 2:19-cv-11100-LVP-EAS ECF No. 1, PageID.17 Filed 04/16/19 Page 17 of 69




     69.     In making her purchase, Ms. Williams relied on GM’s representations

in its commercials and other advertisements that Class Vehicles would be free from

defects and safe to operate.

     70.     At the time she purchased her 2011 Cadillac SRX, the vehicle’s

odometer read approximately 80,000.

      71.    Shortly after Ms. Williams purchased her vehicle in September

2017, the driver’s side headlight went dim and thereafter stopped working. She

noticed condensation in the headlights and on the lenses. Ms. Williams took her

car to Crestmont Cadillac who replaced the left side assembly at a cost of

$1,398.60, which she paid out of pocket.

      72.    In December of 2018, the driver’s side headlight stopped working.

Here, again, Ms. Williams noticed condensation on the failed bulb and on the

lenses.

      73.    Ms. Williams’s Cadillac SRX vehicle has and continues to exhibit

the Headlight Defect described herein and she has suffered a loss as a result of

the Headlight Defect.

      74.    Ms. Williams’s Cadillac SRX headlights continue to malfunction,

and she fears they can fail completely at any time without warning.

      75.    Ms. Williams purchased her vehicle primarily for personal, family,

or household use.


                                       17
Case 2:19-cv-11100-LVP-EAS ECF No. 1, PageID.18 Filed 04/16/19 Page 18 of 69




      76.    GM did not disclose the Headlight Defect before Ms. Williams

purchased her Class Vehicle. Had GM disclosed the Headlight Defect, she would

not have purchased her Class Vehicle or she would have paid less for it. GM’s

omissions were material to her decision to purchase her Class Vehicle.

      77.    At all times, Ms. Williams, like all Class Members, has driven her

vehicle in a foreseeable manner and in the manner in which it was intended to

be used.

                 The Headlight Defect Infects All Class Vehicles

      78.    As referenced herein, the Headlight Defect impacts nearly all owners

and lessees of the 2010-2015 Cadillac SRX series. The following are selections of

safety complaints, among the multiple hundreds filed with NHTSA, describing, inter

alia, the danger of driving with dim light output, the out-of-pocket costs that Class

Members have to pay, and the fact that GM is aware of the Headlight Defect (all

caps; spelling, and grammar in original). See https://www.nhtsa.gov/vehicle

(accessed on January 14, 2019).

   2010 Cadillac SRX

      a.    November 6, 2014: PASSENGER HEADLIGHT (SEALED
            BEAM) FAILED TO TURN ON 2 DAYS AGO. I ASSUMED
            IT WAS A BULB BUT THE DEALER IDENTIFIED ITAS
            A SHORT DUE TO WATER AND CONDENSATION
            ACCUMULATION INSIDE THE HOUSING. THE LIGHT
            DID COME BACK ON FOR A SHORT TIME WHILE
            DRIVING TO THE DEALERSHIP, BUT WAS OFF AGAIN
            UPON ARRIVAL. DEALER STATED THE OTHER LIGHT

                                         18
Case 2:19-cv-11100-LVP-EAS ECF No. 1, PageID.19 Filed 04/16/19 Page 19 of 69




          WOULD BE AFFECTED SOON AS WELL, BASED ON
          WATER INSIDE IT TOO. I HAVE THE HIGHEST LEVEL
          EXTENDED WARRANTY PLAN (GM MAJOR GUARD),
          BUT THE SEALED BEAM HEADLIGHTS ARE
          EXCLUDED FROM THIS PLAN. DEALER QUOTED
          COST OF $1,800 PER LIGHT, TOTAL OF $3,600 TO
          REPAIR. THIS IS A DESIGN FLAW, BASED ON
          NUMEROUS CADILLAC COMPLAINTS AS WELL AS
          NOTES FOUND ON NHTSA. IN ITS CURRENT STATE,
          THE VEHICLE IS NOT DRIVABLE IN LOW VISIBILITY
          CONDITIONS OR AT NIGHT BECAUSE THE
          HEADLIGHTS HAVE FAILED DUE TO A DESIGN FLAW.
          DEALER WILL NOT REPAIR UNDER WARRANTY, AND
          WITHOUT REPAIR THE VEHICLE WILL NOT EVEN
          PASS A STATE SAFETY INSPECTION. THIS IS A
          RECALL WORTHY FAULT WHICH COULD LEAD TO
          LOSS OF LIFE IF FAULT OCCURS IN LOW VISIBILITY
          OR NIGHT DRIVING, AND RENDERS THE VEHICLE
          UNSAFE AS IT WILL NOT PASS STATE SAFETY
          INSPECTION. PLEASE FORCE GM TO ISSUE RECALL
          ON THIS ISSUE. I AM CURRENTLY TRYING TO FIGURE
          OUT HOW TO PAY ALMOST $4,000 ON MY $56K
          VEHICLE TO GET IT DRIVABLE AGAIN, WHEN IT’S
          UNDER THE PREMIERE WARRANTY PLAN. THIS
          POLICY IS UNSATISFACTORY AT BEST. *TR

     b.   December 1, 2014: I OWN A 2010 CADILLAC SRX. THE
          PASSENGER HEADLAMP HAS ACCUMULATED SOME
          CONDENSATION. AS I WAS READING ONLINE THIS IS
          A KNOWN FLAW OF DESIGN FOR THIS MODEL (EVEN
          2013 MODELS) THAT GM IS AWARE OF. AS THE
          HOLIDAY APPROACHED WE TRAVELED OUT OF
          TOWN. AS WERE LEAVING I WAS TOLD BY A FAMILY
          MEMBER THAT MIGHT PASSENGER HEADLAMP WAS
          INOPERABLE. SO MY GUESS WAS THAT IT WAS
          EITHER A SAFETY MECHANISM THAT THE CAR WILL
          SHUT THE LIGHT OUT TO PREVENT A SHORT OR
          WORST A FIRE. WELL IT WAS COMPLETE OPPOSITE.
          THIS MORNING MY LOCAL CADILLAC DEALERSHIP
          HAS CONCLUDED THE KNOWN FLAW IN THE

                                    19
Case 2:19-cv-11100-LVP-EAS ECF No. 1, PageID.20 Filed 04/16/19 Page 20 of 69




          HEADLAMP ACTUALLY SHORTED OUT MY BULD.
          NOW I HAVE RECEIVED A QUOTE FOR OVER $1000++
          TO REPLACE A FLAW IN THEIR DESIGN. HOW IS THIS
          GOOD BUSINESS? IF IT IS A KNOWN ISSUE TAKE
          CARE OF IT RIGHT? THIS IS A DESIGN FLAW BASED
          ON NUMEROUS CADILLAC COMPLAINTS AS WELL
          AS NOTES FOUND ON THIS VERY NHTSA WEBSITE. IN
          IT’S CURRENT STATE, THE VEHICLE IS NOT
          DRIVABLE IN LOW VISIBILITY CONDITIONS OR AT
          NIGHT BECAUSE THE HEADLIGHTS HAVE FAILED
          DUE TO A DESIGN FLAW. DEALER WILL NOT REPAIR
          UNDER EXTENDED WARRANTY AND WITHOUT
          REPAIR THE VEHICLE WILL NOT EVEN PASS A STATE
          SAFETY INSPECTION. THIS IS A RECALL WORTHY
          FAULT WHICH COULD LEAD TO LOSS OF LIFE IF
          FAULT OCCURS IN LOW VISIBILITY OR NIGHT
          DRIVING, AND RENDERS THE VEHICLE UNSAFE AS IT
          WILL NOT PASS STATE SAFETY INSPECTION. PLEASE
          FORCE GM TO ISSUE RECALL ON THIS ISSUE. *JS

     c.   February 7, 2018: PASSENGER HEADLIGHT ASSEMBLY
          IS FULL OF WATER, POSSIBLY DUE TO A FAULTY
          SEAL. THIS IS A KNOWN ISSUE AMONG OWNERS,
          AND WILL EVENTUALLY CAUSE THE HEADLIGHT TO
          SHORT       OUT     AND   BECOME    INOPERABLE.
          REPLACEMENT IS OVER $1500, AND CADILLAC
          REPLACES ASSEMBLIES WITH THE SAME FAULTY
          SEAL.

     d.   December 30, 2018: THE LIGHTS ARE EXTREMELY DIM.
          VERY DANGEROUS ON THE ROAD. I'VE REPLACED
          THE FUSES FOR THE HEADLIGHTS. I'VE REPLACED
          THE ENTIRE HEADLIGHT ASSEMBLY AND STILL NO
          LUCK. ONE DONE RESEARCH ONLINE AND THERE
          ARE NUMEROUS PEOPLE COMPLAINING ABOUT THIS
          ISSUE. CADILLAC WILL NOT FIX IT.

     e.   July 31, 2018: VISIBILITY AT NIGHT IS SO POOR THAT
          I DON’T FEEL COMFORTABLE DRIVING THIS
          VEHICLE AFTER DARK. IT IS LIKE THE LIGHTS ARE

                                    20
Case 2:19-cv-11100-LVP-EAS ECF No. 1, PageID.21 Filed 04/16/19 Page 21 of 69




         WORKING ABOUT 30%. I LOOKED ONLINE AND
         NOTICED THERE IS A PATTERN WITH THIS MAKE
         AND MODEL AND THE POOR VISIBILITY/LIGHTING
         AT NIGHT. THIS IS A HORRIBLE SAFETY ISSUE AND A
         RECALL NEEDS TO BE ISSUED. CONSUMERS EXPECT
         CADILLAC TO BE ABOVE THE STANDARD AND WE
         PAY MORE FOR THAT. WE SHOULD NOT HAVE THESE
         KINDS OF ISSUES AND BE EXPECTED TO PAY OUT OF
         POCKET TO REPAIR THEM. A RECALL SHOULD BE
         ISSUED TO MAKE THESE VEHICLES SAFE TO DRIVE
         AT NIGHT.
  2011 Cadillac SRX

      f. October 24, 2013: THE LOW BEAM HEADLIGHTS ARE
         VERY DIM. THEY DO NOT REACH OUT LIKE THEY
         SHOULD. DEALER TELLS ME THAT’S THE WAY THEY
         ARE, I DO NOT FEEL THEY ARE SAFE!!! *TR

      g. October 13, 2015: TL* THE CONTACT OWNS A 2011
         CADILLAC SRX. WHILE DRIVING AT VARIOUS
         SPEEDS, THE LOW BEAM HEAD LAMPS FAILED TO
         FULLY ILLUMINATE AND DIMINISHED THE
         CONTACT'S VISIBILITY. THE CONTACT HAD TO
         ACTIVATE THE HIGH BEAMS IN ORDER TO INCREASE
         VISIBILITY. THE VEHICLE WAS TAKEN TO A DEALER
         WHO WAS UNABLE TO DIAGNOSE OR REPAIR THE
         VEHICLE. THE MANUFACTURER WAS NOTIFIED OF
         THE FAILURE. THE FAILURE MILEAGE WAS 30,000.

      h. February 15, 2016: LOW BEAMS ARE TOO DIM. WHEN
         I'M ON ROADS THAT DO NOT HAVE REFLECTIVE
         STRIPES I CAN'T SEE THE SIDES OF THE ROAD. THIS
         IS     PARTICULARLY       DANGEROUS       WHEN
         APPROACHING ONCOMING TRAFFIC.

      i. December 13, 2017: EXTREME MOISTURE BUILDUP IN
         BOTH     HEADLIGHT       ASSEMBLIES     CAUSING
         DECREASED        NIGHTTIME    VISIBILITY   AND
         ADDITIONALLY CAUSING BULBS TO BLOW OUT.


                                    21
Case 2:19-cv-11100-LVP-EAS ECF No. 1, PageID.22 Filed 04/16/19 Page 22 of 69




          PURCHASED 2011 SRX USED IN 2017 WITH 63,000
          MILES, NOT AWARE OF THE DEFECT AT THAT TIME.
          A LIMITED WARRANTY WAS ALSO PURCHASED FOR
          AN ADDITIONAL $2700 BUT WAS INFORMED AFTER
          ASKING THE DEALERSHIP TO INVESTIGATE THAT
          DEFECTIVE HEADLIGHTS ARE NOT COVERED.
          QUOTED ALMOST $5,000 TO REPLACE BOTH. THIS IS
          HIGHLY UNSAFE AS WELL AS UNFAIR TO THE
          PUBLIC, NOT ONLY THE RISK OF FAILURE
          POTENTIALLY CAUSING BODILY HARM BUT I DO
          NOT BELIEVE THAT I SHOULD BE REQUIRED TO PAY
          AN ADDITIONAL $5,000, NOT INCLUDING THE
          WARRANTY     PURCHASED,     TO   REPAIR     A
          MANUFACTURER’S DEFECT.

      j. November 27, 2018: BOTH HEADLIGHTS ARE DIM EVEN
         AFTER PUTTING NEW HEADLIGHT BULBS IN. ONE
         HEADLIGHT HAS ALSO ACCUMULATED MOISTURE
         FROM THE WEATHER WHICH HAS CAUSED A
         YELLOW TINT WHICH ALSO DIMS THE LIGHTING. I
         HAVE TO USE MY HIGH BEAMS TO SEE TURNS
         WHICH IS DANGEROUS FOR ME AND OTHER
         DRIVERS. THE FACT THAT I PUT NEW BULBS IN AND
         STILL CAN’T SEE WHEN I’M DRIVING IS A HUGE
         PROBLEM AND I FEAR AN ACCIDENT COULD
         HAPPEN BECAUSE OF THIS FAULT.

     k.   December 25, 2018: HEADLIGHTS VERY LOW. CAN’T
          SEE ROAD AT NIGHT. ON COMING VECHICLES HONK
          THEIR HORN AT YOU CAUSE THEY THINK YOUR
          LIGHTS ARE OFF. HAVE TO DRIVE ON HIGH BEAMS.
          KEEP HAVING TO REPLACE BULBS.
  2012 Cadillac SRX

     l. December 26, 2016: LOW BEAM HEADLAMPS ARE
        DISFUNCTIONAL. THEY ARE SO DIM, YOU
        CANNOT DRIVE THE VEHICLE AT NIGHT
        WITHOUT THE AIDE OF THE HIGH BEAM
        HEADLAMPS.

                                    22
Case 2:19-cv-11100-LVP-EAS ECF No. 1, PageID.23 Filed 04/16/19 Page 23 of 69




     m. April 29, 2017: MOISTURE BUILDUP IN FRONT
        HEADLIGHTS CAUSED BULBS TO SHORT OUT AND
        NOW NOT WORKING ON LOW BEAM. THIS IS A MAJOR
        SAFETY ISSUE AND FROM WHAT I HAVE SEEN
        HAPPEN QUITE OFTEN ON THIS PART OF THE
        CADILLAC SRX. WENT TO DEALERSHIP TO HAVE IT
        REPLACED AND SINCE OUT OF WARRANTY IT WAS
        GOING TO BE ~ $2K. RIDICULOUS!

   n.   January 1, 2019: I PURCHASED MY 2012 IN 2016.
        RECENTLY MY HEADLIGHTS HAVE STARTED TO DIM.
        IT BECOMES VERY HARD TO SEE AT NIGHT TO THE
        POINT THAT IT ALMOST LOOKS AS IF I DON'T HAVE
        ANY LIGHTS ON IT ALL. MOST OF THE TIME I HAVE
        TO CUT MY HIGH BEAMS ON WHICH CREATES A
        PROBLEM FOR ONCOMING TRAFFIC.

  2013 Cadillac SRX

     o. July 19, 2017: THE HEADLIGHTS ON THIS VEHICLE ARE
        DANGEROUSLY DIM. I HAVE SPOKEN TO NUMEROUS
        OWNERS WHO SUGGESTED THE SAME ISSUE. THE
        DEALERSHIPS WANT TO CHARGE OVER $2000.00 TO
        CORRECT THIS AND IT IS NOT CLEAR THAT
        REPLACING THESE LIGHTS WITH THE SAME LIGHTS
        WILL REPAIR THE ISSUE. THIS NEEDS GOVERNMENT
        ACTION OR PEOPLE WILL GET HURT.

     p. March 6, 2018: HEADLIGHTS ARE SO DIM THAT I HAVE
        TO DRIVE WITH BRIGHTS ON CONTINUOUSLY AT
        NIGHT. WHEN ONCOMING TRAFFIC SIGNALS ME BY
        BLINDING ME, I SWITCH TO DIMS AND HAVE TO
        GUESS AT WHERE THE ROAD IS. THIS IS
        UNACCEPTABLE. THE VEHICLE WAS BROUGHT IN
        WHILE STILL UNDER BASIC WARRANTY. PROBLEM
        NOT RESOLVED. I EVEN PURCHASED AN EXTENDED
        WARRANTY. NO HELP THERE EITHER. I AM PAYING
        FOR A VEHICLE THAT I CANNOT SAFELY DRIVE AT
        NIGHT. NO WAY I CAN LET MY KIDS USE THIS


                                    23
Case 2:19-cv-11100-LVP-EAS ECF No. 1, PageID.24 Filed 04/16/19 Page 24 of 69




         VEHICLE AT NIGHT. I AM DEEPLY DISAPPOINTED.

     q. January 2, 2019: THE LOW BEAM HEADLIGHTS ARE
        EXTREMELY DIM. WHILE DRIVING AT NIGHT I HAVE
        TO USE THE HIGH BEAMS, ALTHOUGH CAUTIOUSLY,
        SO AS NOT TO BLIND ONCOMING DRIVERS. IF THERE
        IS A CAR BEHIND ME, I CANNOT SEE THE ROAD IN
        FRONT OF MY CAR AT ALL; IN FACT, I SEE THE
        SHADOW OF MY CAR IN FRONT OF ME. THIS IS
        EXTREMELY UNSAFE AND HAS NOT BEEN RECALLED
        BY CADILLAC. TO REPLACE THE HEADLIGHTS IS
        ABOUT $1500 AND IS NOT GUARANTEED TO IMPROVE
        THE DIM LIGHT SITUATION. I HAVE TO DRIVE AT
        NIGHT AND IT'S FRIGHTENING. WHY IS NOTHING
        BEING DONE ABOUT THIS? THERE ARE THOUSANDS
        OF COMPLAINTS LOGGED ON THE INTERNET. IS THE
        GOVERNMENT GOING TO INTERVENE ON OUR
        BEHALF? WHAT RECOURSE DO WE HAVE? AT THIS
        POINT, I DON'T BELIEVE IT SHOULD BE UP TO
        INDIVIDUAL OWNERS TO PURSUE RESTITUTION.
        PLEASE STEP IN AND DO SOMETHING! I BOUGHT THIS
        CAR FROM A CADILLAC DEALER IN APRIL OF 2017.
  2014     Cadillac SRX

     r. June 2, 2014: TL* THE CONTACT OWNS A 2014
        CADILLAC SRX. THE CONTACT STATED THAT WHILE
        DRIVING AT NIGHT WITH THE LOW BEAM
        HEADLIGHTS ACTIVATED THE LIGHTS WERE VERY
        DIM MAKING AND CAUSING THE CONTACT
        DIFFICULTY IN SEEING PAST 50 FEET IN FRONT OF
        THE VEHICLE. THE VEHICLE WAS TAKEN TO THE
        DEALER HOWEVER, THE FAILURE COULD NOT BE
        DIAGNOSED. THE MANUFACTURER WAS NOT
        NOTIFIED OF THE ISSUE. THE VIN WAS NOT
        AVAILABLE. THE FAILURE MILEAGE WAS 200.

     s. February 22, 2017: LOW BEAM HEADLIGHTS ARE SO DIM
        THAT THEY ARE AN ACCIDENT IN WAITING. THEY DO
        NOT PROJECT FAR ENOUGH TO AVOID “OVER


                                    24
Case 2:19-cv-11100-LVP-EAS ECF No. 1, PageID.25 Filed 04/16/19 Page 25 of 69




        DRIVING” THEM. DEALER SAYS THEY ARE ADJUSTED
        TO SPEC. PEDESTRIANS ARE AT RISK AS IS THE RISK
        OF HITTING WILDLIFE. IN AMBIENT LIGHT CANNOT
        TELL THE LIGHTS ARE EVEN ON! HAVE INSTALL. D
        BRIGHTER BULBS TO NO AVAIL. THIS PROBLEM IS
        INHERENT IN THE CADILLAC AND NEEDS TO BE
        ADDRESSED AT THE NHTSA. PROBLEM NOTED ALL
        OVER THE WEB.

     t. August 27, 2018: DIM HEADLIGHTS ARE VERY LOW.
        VERY UNSAFE TO DRIVE AT NIGHT WITH DIM LIGHTS
        ON. WE HAVE NOTICED THAT THE BLINKER IS
        BRIGHTER THAN THE ACTUAL LIGHTS. VERY LOW
        VISABILITY. WHEN DRIVING I OFTEN THINK THE
        LIGHTS ARE NOT ON WHEN THEY ARE ON LOW BEAM.
        WOULD NOT BE ABLE TO SEE A CHILD OR ANIMAL
        (OR ANY OBJECT) IN PATH OF VEHICLE WHEN
        DRIVING AT NIGHT. OUR SRX IS BLACK SO I'M ALSO
        CONCERNED ABOUT OTHER VEHICLES SEEING US AT
        NIGHT W/SUCH POOR LIGHTING. TOTAL DEFECT IN
        DESIGN. MY HUSBAND WILL DRIVE IT AT NIGHT, BUT
        I REFUSE TO.

   u.   December 2, 2018: JULY 4, 2018 I WAS INVOLVED IN A
        REAR END COLLISION WHERE I RAN INTO THE BACK
        OF A VEHICLE AROUND 9:45PM. IT BOTHERED ME
        THAT I DID NOT SEE THE CAR UNTIL I WAS RIGHT ON
        HER. ALL OF A SUDDEN I SAW HER CAR AND SHE WAS
        MOVING NOT STANDING STILL. IT DAWNED ON ME
        THAT I COULD NOT SEE HER CAR OR JUDGE THE
        DISTANCE FROM HER BECAUSE MY HEADLIGHTS
        ARE NOT BRIGHT ENOUGH TO SEE WHAT IS IN FRONT
        OF ME. I CAUSED MY INSURANCE RATES TO GO UP. I
        HAVE NOT BEEN IN A VEHICLE ACCIDENT SINCE THE
        LATE 1970S. I AM A GOOD DRIVER AND WAS NOT
        DISTRACTED IN ANY WAY. OVER $3,000 WORTH
        DAMAGE WAS DONE TO MY CAR AND I'M NOT SURE
        HOW MUCH TO THE VEHICLE I HIT. CADILLAC NEEDS
        TO DO SOMETHING ABOUT THE HEADLIGHTS BEFORE
        THERE IS A SERIOUS ACCIDENT. I HAVE TO DRIVE

                                    25
Case 2:19-cv-11100-LVP-EAS ECF No. 1, PageID.26 Filed 04/16/19 Page 26 of 69




        WITH MY HIGH BEAMS. I WAS DRIVING ON A TWO
        WAY BRIDGE AND BOTH CARS WERE IN MOTION.

     2015 Cadillac SRX

   v.    November 8, 2017: WE ARE DRIVING BLIND !!!!
         PURCHASED OUR 2015 CADILLAC SRX AWD IN
         NOVEMBER 2017 AFTER RESEARCHING ON BOTH
         CONSUMER REPORTS AND EDMUNDS... DID OUR
         TEST DRIVE IN DAYLIGHT... NOW THAT WE'RE
         OWNERS WE REALIZE THE CAR CANNOT BE DRIVEN
         AT NIGHT. THE LOW BEAM HEADLAMPS ARE SO DIM
         ITS WORSE THAN DRIVING WITH PARKING LIGHTS
         ONLY. WE ARE NOW SHOCKED TO SEE THAT THERE
         ARE MANY SERIOUS COMPLAINTS ABOUT THIS
         VERY PROBLEM ALL OVER THE WEB EVERYWHERE
         EXCEPT FOR THE TWO ABOVE MENTIONED
         REVIEWERS .IT'S LITERALLY LIKE DRIVING IN THE
         DARK. WE HAVE TO COORDINATE WHO HAS THE
         CAR WHEN JUST TO GET HOME SAFELY. PLEASE DO
         NOT IGNORE THIS!!! THIS IS A SERIOUS FLAW IN GM
         MANUFACTURING... CANT BELIEVE IT HAD NOT
         BEEN ADDRESSED. OPERATING THIS VEHICLE AFTER
         DARK RISKS INJURY OR DEATH. DEALERSHIP
         TURNING BLIND EYE. THEY WERE HAPPY TO GET RID
         OF IT? WE WILL NOT LET THIS GO AND INTEND TO
         DO ALL WE CAN TO EXPOSE, AND DEMAND THIS
         PROBLEM IS RECTIFIED ASAP.

   w.    January 22, 2018: TL* THE CONTACT OWNS A 2015
         CADILLAC SRX. WHILE DRIVING VARIOUS SPEEDS,
         BOTH LOW BEAM HEADLIGHTS FAILED TO WORK
         WITHOUT WARNING. THE VEHICLE WAS TAKEN TO THE
         DEALER (CROSBY CADILLAC, GMC, NISSAN, INC, 2715
         MEMORIAL DR, WAYCROSS, GA 31503) WHERE IT WAS
         DIAGNOSED THAT BOTH LOW BEAM LIGHTS NEEDED TO
         BE REPLACED. THE VEHICLE WAS NOT REPAIRED. THE
         MANUFACTURER WAS NOT CONTACTED. THE
         APPROXIMATE FAILURE MILEAGE WAS 55,000.December
         31, 2018: TL* THE CONTACT OWNS A 2015 CADILLAC

                                    26
Case 2:19-cv-11100-LVP-EAS ECF No. 1, PageID.27 Filed 04/16/19 Page 27 of 69




            SRX. THE CONTACT STATED THAT THE DIMMER FAILED
            TO FUNCTION PROPERLY AND THE DAYTIME RUNNING
            LAMPS DID NOT ILLUMINATE BRIGHTLY ENOUGH. THE
            CONTACT HAD TO APPLY THE HIGH BEAM HEADLIGHTS
            IN ORDER TO SEE THE ROAD. ANDREWS CADILLAC (1
            CADILLAC DR, BRENTWOOD, TN 37027, (615) 200-9076)
            WAS CONTACTED AND WERE AWARE OF THE FAILURE,
            BUT STATED THERE WAS NO REMEDY. THE VEHICLE
            WAS NOT REPAIRED. THE MANUFACTURER WAS
            NOTIFIED OF THE FAILURE. THE FAILURE MILEAGE WAS
            NOT AVAILABLE.

    x.      December 28, 2018: DIM HEADLIGHTS ARE DEFECTIVE. I
            CAN BARELY SEE TO DRIVE AT NIGHT. THERE ARE
            GROUPS ON FACEBOOK OF NUMBERS OF PEOPLE WITH
            THE SAME COMPLAINT. PLEASE INVESTIGATE THIS
            MATTER BEFORE SOMEONE IS KILLED.

   GM Had Superior, Exclusive, and Actual Knowledge of the Headlight
   Defect

      79.    GM had superior and exclusive knowledge of the Headlight Defect and

knew or should have known that the defect was not known or reasonably

discoverable by Plaintiffs and Class Members before they purchased or leased the

Class Vehicles.

      80.    Plaintiffs are informed and believe and based thereon allege that before

Plaintiffs purchased their Class Vehicles, and since at least 2010, GM knew about

the Headlight Defect through sources in its exclusive custody and control and thus

not available to consumers, including pre-production design failure mode and

analysis data, production design failure mode and analysis data, pre-release testing

data, early consumer complaints about the Headlight Defect to GM and its agents,

                                         27
Case 2:19-cv-11100-LVP-EAS ECF No. 1, PageID.28 Filed 04/16/19 Page 28 of 69




testing conducted in response to those complaints, high failure rates and replacement

part sales data, and other aggregate data from Cadillac dealers.

      81.    Further, upon information and belief, GM, like other car manufacturers,

regularly monitors the NHTSA database for consumer complaints. The NHTSA

database is replete with complaints of the Headlight Defect, including complaints of

accidents and near accidents, indicating GM’s awareness of the Headlight Defect

and of the attendant hazards it creates for consumers and the general public.

      82.    Further demonstrating      GM’s knowledge is          GM’s    Customer

Satisfaction Campaign (“CSC”), issued in December of 2011, that covered, the 2010

Cadillac SRX and identified a condition caused by the loss of electrical contact

between the halogen headlamp connectors and low beam headlamp bulbs that “could

cause the headlamp and/or daytime running lamp to work intermittently.” CSC No.

10043330-5822 offered to replace the headlamp connectors and low beam bulbs free

of charge or to reimburse customers who previously had paid for this repair but did

not fix the root cause of the malfunction or exclude the accumulation of moisture

and/or condensation in the housing.

      83.    In addition, GM has released several iterations of TSBs regarding an

inoperative low beam headlamp since May 2010 to address the same issue to its

dealers. In May 2010, GM issued the initial TSB, Bulletin No. 10-08-42-001, which

applied to various vehicles, including the 2010 Cadillac SRX. The bulletin alerted


                                         28
Case 2:19-cv-11100-LVP-EAS ECF No. 1, PageID.29 Filed 04/16/19 Page 29 of 69




service technicians that “[s]ome customers may comment that the low beam

headlamp is inoperative.” The recommended procedure included replacing the bulb

and verifying any discoloration or damage to the connector that would require the

replacement of that part too. The TSB was re-issued on or around January 24, 2011,

as Bulletin No. 10-08-42-001A, to add vehicles, including the SRX model year 2011,

and update the relevant part number. GM subsequently updated the bulletin at

regular intervals, releasing Bulletin No. 10-08-42-001C in February 2012, Bulletin

No. 10-08-42-001D in November 2014, and Bulletin No. 10- 08-42-001E in May

2015, which bulletin included the SRX model years 2010-2013. The updated TSB

explained the repair procedure in far greater detail, which included replacing the

wiring harness and inspecting the connector for discoloration at the bulb interface.

      84.    At the time that GM issued the TSBs to its dealers it did not issue a

notice to its consumers or the Class Members.

      85.    GM did not identify the cause of the malfunction to its dealers or

customers or the likelihood of recurrence because it was not actually correcting the

defect, but merely replacing the Headlights with the same type of defective

Headlights. Like the CSC, the TSBs do not identify the root cause of the malfunction

or exclude the accumulation of moisture and/or condensation in the housing.

      86.    And just weeks ago, GM issued a notice to some putative class

members, providing reimbursement for prior out-of-pocket headlight replacement


                                         29
Case 2:19-cv-11100-LVP-EAS ECF No. 1, PageID.30 Filed 04/16/19 Page 30 of 69




costs “for moisture-related issues.” GM also offered to reimburse for the cost of

diagnosis of headlights for the same “for moisture-related issues” and replacement

of the headlamps “if you believe it is necessary.”

      87.    GM’s latest effort is once again inadequate.

      88.    First, rather than remedy the Headlight Defect as part of a

comprehensive recall of all Class Vehicles, GM offers just reimbursement for prior

costs. But GM will only reimburse up to $1,600—hundreds less than what many

Class Members have had to pay to replace their headlamps.

      89.    Second, though GM offers reimbursement for a future diagnosis and

replacement, GM puts the burden on the consumer to seek such a diagnosis and a

replacement of a headlamp if he or she “believe[s] it is necessary.” And the consumer

must first pay out of pocket for any diagnosis and replacement—and do so within

90 days of the notice, otherwise GM will not provide a reimbursement. This

approach is far from a comprehensive recall. Moreover, any replacement is

inadequate because GM simply replaces the headlamps with the same defectively

designed parts.

      90.    Finally, GM’s notice does not have the same reach as a class action

notice. Only some Class Members, and none of the Plaintiffs, received such a notice.

      91.    The existence of the Headlight Defect is a material fact that a

reasonable consumer would consider when deciding whether to purchase or lease


                                         30
Case 2:19-cv-11100-LVP-EAS ECF No. 1, PageID.31 Filed 04/16/19 Page 31 of 69




a vehicle. Had Plaintiffs and other Class Members known that the Class Vehicles

were equipped with defective headlights, they would not have purchased or leased

the Class Vehicles or would have paid less for them.

      92.    Consumers, like Plaintiffs, reasonably expect that a vehicle’s

headlights are safe, will function in a manner that will not pose a safety hazard,

and are free from defects. Plaintiffs and Class Members further reasonably expect

that GM will not sell or lease vehicles with known safety defects, such as the

Headlight Defect, and will disclose any such defects to consumers when it learns

of them. Plaintiffs and Class Members did not expect GM to fail to disclose the

Headlight Defect to them and to continually deny the defect.

      GM Concealed the Headlight Defect From the Public

      93.    While GM has been fully aware of the Headlight Defect in the Class

Vehicles since 2010, it actively concealed the existence and nature of the defect

from Plaintiffs and Class Members at the time of purchase, lease, or repair and

thereafter. Specifically, GM failed to disclose or actively concealed at and after

the time of purchase, lease, or repair:

      •      any and all known material defects or material nonconformity of the

Class Vehicles, including the defects relating to the headlights;

      •      that the Class Vehicles, including their headlights, were not in good

working order, were defective, and were not fit for their intended purposes; and



                                          31
Case 2:19-cv-11100-LVP-EAS ECF No. 1, PageID.32 Filed 04/16/19 Page 32 of 69




      •      that the Class Vehicles and their headlights were defective, despite

the fact that GM learned of such defects through failure rates and customer

complaints, as well as through other internal sources, as early as 2010.

      94.    In fact, GM has always emphasized the quality and reliability of the

Class Vehicles and knows that consumers, including Plaintiffs and putative Class

Members, rely upon such factors when purchasing or leasing Class Vehicles.

      95.    For example, the Cadillac brochure, “The 2011 SRX Crossover”

Introducing the All-New 2010 SRX Crossover,” assures consumers that “[e]very

detail of the SRX Crossover has been carefully considered.”5 The brochure for the

2011 SRX extols its virtues and assures consumers specifically that “passenger

safety is a primary consideration throughout the engineering process…[and] the

SRX was designed to help avoid collisions.”6 The 2012 SRX brochure states

categorically that the vehicle’s “Adaptive Forward Lighting…provide[s] optimal

illumination closer or farther down the road.”7 And the “2015 SRX” brochure

asserts that the “available HD headlamps with Adaptive Forward Lighting help

5
  Cadillac, “The All-New 2010 SRX Crossover,” available at
http://www.motorologist.com/wp- content/uploads/2010-Cadillac-
SRXbrochure.pdf (last visited April 11, 2019). (Exhibit 4)
6
  Cadillac,“The2011SRX Crossover” available         at
https://web.archive.org/web/20120126015758/http://www.cadillac.com/content/da
m/Cadillac/Global/master/nscwebsite/en/home/Help_Center/Download_Brochure/
01_images/Cadillac_2011_SRX.pdf (last visited April 10, 2019). (Exhibit 5)
7
  Cadillac, “The 2012 Cadillac SRX,” available at
    http://www.motorologist.com/wp- content/uploads/2012-
cadillac_srx_brochure.pdf (last visited April 10, 2019). (Exhibit 6)

                                         32
Case 2:19-cv-11100-LVP-EAS ECF No. 1, PageID.33 Filed 04/16/19 Page 33 of 69




guide you around curves and corners at night.”8

      96.   Plaintiffs and other Class Members relied on the misrepresentations

and/or omissions of GM with respect to the safety and reliability of the Class

Vehicles in making their purchases.

      97.   Rather than repairing or replacing the defective headlights with

headlights without the Headlight Defect, GM issued a series of technical service

bulletins advising its technicians to make repairs with the same defective parts.

Furthermore, when consumers present the Class Vehicles to an authorized GM

dealer for repair of the headlights, GM dealers either inform consumers that their

vehicle headlights are functioning properly, or charge customers for repairs that

merely mask the defect.

      98.   GM failed to disclose the defect to owners and lessees of the Class

Vehicles, including Plaintiffs and members of the Class, despite the fact that GM

knew or should have known of the defect and its associated safety hazards.

      99.   To date, the Headlight Defect remains unresolved.

      100. On information and belief, GM has caused Plaintiffs and Class

Members to expend money at its dealerships to diagnose, repair, or replace the

Class Vehicles’ headlights and their component parts, despite GM’s knowledge of

8
 Cadillac,“2015 SRX,” available at
http://www.motorologist.com/wpcontent/uploads/2015_Cadillac-SRX-
brochure.pdf (last visited April 11, 2019). (Exhibit 7)


                                        33
Case 2:19-cv-11100-LVP-EAS ECF No. 1, PageID.34 Filed 04/16/19 Page 34 of 69




the Headlight Defect.

      101. Moreover, had Plaintiffs and the putative class members known of

the Headlight Defect, they would not have purchased or leased those vehicles, or

would have paid substantially less for them. Further, because of the Headlight

Defect, the class members’ vehicles have a lower market value, and are inherently

worth less than they would be. For this reason, Plaintiffs and the other Class

Members overpaid for their Class Vehicles and did not receive the benefit of their

bargain.

      TOLLING OF THE STATUTE OF LIMITATIONS AND ESTOPPEL

      102. Any applicable statute of limitations has been tolled by GM’s knowing

and active concealment of the dangerous Headlight Defect and the omissions

alleged herein. Through no fault or lack of diligence of their own, Plaintiffs and

Class Members were deceived regarding the defective headlights and could not

reasonably discover the defect and/or the root cause of the defect, or GM’s

deception with respect to it. When Plaintiffs’ and Class Members’ headlights

intermittently malfunction or fail entirely due to the defect, GM dealers either

inform consumers that their vehicle headlights are functioning properly, or charge

customers for repairs that merely mask the defect.

      103. Plaintiffs and Class Members did not discover and did not know of

any facts that would have caused a reasonable person to suspect that GM was


                                        34
Case 2:19-cv-11100-LVP-EAS ECF No. 1, PageID.35 Filed 04/16/19 Page 35 of 69




concealing a defect and/or that the Class Vehicles were equipped with defective

headlights or any corresponding safety hazard. As alleged herein, the existence of

the Headlight Defect and the safety hazards it creates were material to Plaintiffs

and the Class at all relevant times. Furthermore, Plaintiffs and Class Members

could not have discovered through the exercise of reasonable diligence that GM

was concealing the Headlight Defect during any applicable statutes of limitations.

      104. At all times, GM is and was under a continuous duty to disclose to

Plaintiffs and the Classes the true standard, quality, and grade of the Class Vehicles

and to disclose the Headlight Defect and associated safety hazards.

      105. GM knowingly, actively, and affirmatively concealed the facts

alleged herein, including the unreasonable safety hazards resulting from the

alleged defects. Plaintiffs and Class Members reasonably relied on GM’s knowing,

active, and affirmative concealment.

      106. For these reasons, all applicable statutes of limitation have been tolled

based on the discovery rule and GM’s fraudulent concealment, and GM is

estopped from relying on any statutes of limitations in defense of this action.

                            CLASS ACTION ALLEGATIONS

      107. Plaintiffs bring this action pursuant to Federal Rules of Civil Procedure

23(a), (b)(2), and (b)(3) on behalf of themselves and members of the following

proposed subclasses (collectively, the “Classes”). Ms. LaTorre brings this action on


                                          35
Case 2:19-cv-11100-LVP-EAS ECF No. 1, PageID.36 Filed 04/16/19 Page 36 of 69




behalf of herself and the members of a proposed New York Subclass comprised of

and defined as:

            All New York residents who purchased or leased any
            2010-2015 Cadillac SRX vehicle (the “New York
            Subclass”).
      108. Ms. Williams brings this action on behalf of herself and the members

of a proposed Ohio Subclass comprised of and defined as:

             All Ohio residents who purchased or leased any 2010-
             2015 Cadillac SRX vehicle (the “Ohio Subclass”).

      109. Plaintiff Anderson brings this action on behalf of herself and the

members of a proposed Maryland Subclass comprised of and defined as follows:

             All Maryland residents who purchased or leased any 2010-2015
             Cadillac SRX vehicle (the “Maryland Subclass”).

      110. Plaintiffs reserve the right to modify or amend the definition of the

proposed Classes before the Court determines whether certification is appropriate.

      111. Excluded from the Classes are GM, its parents, subsidiaries, affiliates,

officers and directors, any entity in which GM has a controlling interest, all

customers who make a timely election to be excluded, governmental entities, and all

judges assigned to hear any aspect of this litigation, as well as their immediate family

members.

      112. Numerosity: Although the exact number of Class Members is

uncertain and can only be ascertained through appropriate discovery, the number



                                          36
Case 2:19-cv-11100-LVP-EAS ECF No. 1, PageID.37 Filed 04/16/19 Page 37 of 69




is great enough such that joinder is impracticable. The disposition of the claims of

these Class Members in a single action will provide substantial benefits to all

parties and to the Court. The Class Members are readily identifiable from

information and records in GM’s possession, custody, or control, as well as from

records kept by the Department of Motor Vehicles.

      113. Typicality: Plaintiffs’ claims are typical of the claims of the Class and

Subclasses in that Plaintiffs, like all Class Members, purchased or leased a Class

Vehicle designed, manufactured, and distributed by GM, and equipped with the

defective headlights. The representative Plaintiffs, like all Class Members, have been

damaged by GM’s misconduct in that they have incurred or will incur the cost of

repairing or replacing the defective headlight components. Furthermore, the factual

bases of GM’s misconduct are common to all Class Members and represent a

common thread resulting in injury to the Class as a whole.

      114. There are numerous questions of law and fact common to the Classes

and those common questions predominate over any questions affecting only

individual Class members.

      115. Among the questions of law and fact common to the Classes are:

              (a)      Whether Class Vehicles suffer from defects relating to the

                       headlights;

              (b)      Whether the defects relating to the headlights constitute an


                                         37
Case 2:19-cv-11100-LVP-EAS ECF No. 1, PageID.38 Filed 04/16/19 Page 38 of 69




                    unreasonable safety risk;

            (c)     Whether GM knows about the defects relating to the

                    headlights and, if so, how long GM has known of the defect;

            (d)     Whether the defective nature of the headlights

                    constitutes a material fact;

            (e)     Whether GM has a duty to disclose the defective nature of

                    the headlights to Plaintiffs and Class Members;

            (f)     Whether Plaintiffs and the other Class Members are

                    entitled to equitable relief, including but not limited to a

                    preliminary and/or permanent injunction;

            (g)     Whether GM knew or reasonably should have known of the

                    defects relating to the headlights before it sold and leased

                    Class Vehicles to Class Members;

            (h)     Whether GM should be declared financially responsible for

                    notifying all Class Members of the problems with the Class

                    Vehicles and for the costs and expenses of repairing and

                    replacing the defective headlight components;

            (i)     Whether GM is obligated to inform Class Members of their

                    right to seek reimbursement for having paid to diagnose,

                    repair, or replace their defective headlight components;


                                      38
Case 2:19-cv-11100-LVP-EAS ECF No. 1, PageID.39 Filed 04/16/19 Page 39 of 69




              (j)       Whether GM breached the implied warranty of

                        merchantability pursuant to the Magnuson-Moss Act;

              (k)       Whether GM breached its express warranties; and

              (l)       Whether GM breached the implied warranty of

                        merchantability.

      116. Adequate Representation: Plaintiffs will fairly and adequately protect

the interests of the Class Members. Plaintiffs have retained attorneys experienced

in the prosecution of class actions, including consumer and product defect class

actions, and Plaintiffs intends to prosecute this action vigorously.

      117. Superiority: Plaintiffs and Class Members have all suffered and will

continue to suffer harm and damages as a result of GM’s unlawful and wrongful

conduct. A class action is superior to other available methods for the fair and

efficient adjudication of the controversy. Absent a class action, most Class

Members would likely find the cost of litigating their claims prohibitively high

and would therefore have no effective remedy at law. Because of the relatively

small size of the individual Class Members’ claims, it is likely that only a few Class

Members could afford to seek legal redress for GM’s misconduct. Absent a class

action, Class Members will continue to incur damages, and GM’s misconduct will

continue without remedy. Class treatment of common questions of law and fact

would also be a superior method to multiple individual actions or piecemeal


                                           39
Case 2:19-cv-11100-LVP-EAS ECF No. 1, PageID.40 Filed 04/16/19 Page 40 of 69




litigation in that class treatment will conserve the resources of the courts and the

litigants and will promote consistency and efficiency of adjudication.

                   FIRST CAUSE OF ACTION
    VIOLATION OF MARYLAND’S CONSUMER PROTECTION ACT
             Maryland Code, Com. Law § 13-101 et seq.
               (On behalf of the Maryland Subclass)

      118. Plaintiff Anderson incorporates by reference the allegations contained

in the foregoing paragraphs of this Complaint as if set forth fully herein.

      119. Maryland’s Consumer Protection Act (“MCPA”) is to be read broadly

to protect consumers from unfair or deceptive trade practices.

      120. Plaintiff Anderson and Maryland Subclass members are consumers

under the MCPA.

      121. GM has engaged in engaged in unfair, abusive, or deceptive trade

practices the conduct of a business, trade or commerce or in the furnishing of a

service in Maryland.

      122. GM is a “merchant” within the meaning of Md. Com. Law Code § 13-

101(g).

      123. Such unfair, unconscionable, or deceptive acts and practices include the

following, all of which GM engaged in:

             a. misrepresenting that products or goods “have a sponsorship,

                approval, accessory, characteristic, ingredient, use, benefit, or

                quantity which they do not have” Md. Com. Law Code § 13-301

                                          40
Case 2:19-cv-11100-LVP-EAS ECF No. 1, PageID.41 Filed 04/16/19 Page 41 of 69




                (2)(i);

             b. “[f]ailure to state a material fact if the failure deceives or tends to

                deceive,” Md. Com. Law Code § 13-301 (3); and

             c. “[d]eception, fraud, false pretense, false premise, misrepresentation,

                or knowing concealment, suppression, or omission of any material

                fact with the intent that a consumer rely on the same in connection

                with…[t]he promotion or sale of any consumer goods, consumer

                realty, or consumer service; Md. Com. Law Code § 13-301 (9)(i).

      124. GM violated and continues to violate the MCPA by engaging in the

herein described unconscionable, deceptive, and unfair acts or practices proscribed

by §§ § 13-101 et seq., et seq. GM’s omissions and practices described herein were

likely to, did in fact, and will continue to deceive and mislead members of the public,

including consumers acting reasonably under the circumstances, to their detriment.

By failing to disclose and concealing the defective nature of the headlights from

Plaintiff Anderson and Maryland Subclass members, GM violated MCPS, as it

represented that the Class Vehicles and their headlights had characteristics and

benefits that they do not have and represented that the Class Vehicles and their

headlights were of a particular standard and quality, when they were in fact of

another.

      125. GM’s unfair and deceptive acts and practices occurred repeatedly in


                                          41
Case 2:19-cv-11100-LVP-EAS ECF No. 1, PageID.42 Filed 04/16/19 Page 42 of 69




GM’s trade or business, were capable of deceiving a substantial portion of the

purchasing public and imposed a serious safety risk on the public.

      126. GM knew that the Class Vehicles and their headlights suffered from

an inherent defect and were not suitable for their intended use.

      127. As a result of their reliance on GM’s omissions, Plaintiff Anderson

and   Maryland Subclass members suffered an ascertainable loss of money,

property, and/or value of their Class Vehicles. Additionally, as a result of the

Headlight Defect, Plaintiff Anderson and Maryland Subclass members were

harmed and suffered actual damages in that the Class Vehicles’ headlight

components are substantially certain to fail before their expected and useful life.

      128. GM was under a duty to Plaintiff Anderson and Maryland Subclass

members to disclose the defective nature of the headlights and/or the associated

repair costs because:

      (a)    GM was in a superior position to know the true state of facts about

the safety defect in the Class Vehicles’ headlights;

      (b)    Plaintiff Anderson and Maryland Subclass members could not

reasonably have been expected to learn or discover that their headlights had

a dangerous safety defect until it manifested; and

      (c)    GM knew that Plaintiff Anderson and Maryland Subclass members

could not reasonably have been expected to learn of or discover the safety defect.


                                         42
Case 2:19-cv-11100-LVP-EAS ECF No. 1, PageID.43 Filed 04/16/19 Page 43 of 69




      129. In failing to disclose the defective nature of the headlights, GM

knowingly and intentionally concealed material facts, in breach of its duty to

disclose.

      130. The facts GM concealed from or failed to disclose to Plaintiff

Anderson and Maryland Subclass members are material in that a reasonable

consumer would have considered them to be important in deciding whether to

purchase or lease the Class Vehicles or pay less. Had Plaintiff Anderson and

Maryland Subclass members known that the Class Vehicles’ headlights were

defective, they would not have purchased or leased the Class Vehicles or would

have paid less for them.

      131. Plaintiff Anderson and Maryland Subclass members are reasonable

consumers who do not expect the headlights installed in their vehicles to exhibit

problems such as the extremely premature wear, and frequent replacement or repair,

of the vehicle’s headlights, in contravention of the reasonable and objective

consumer expectation relating to vehicle headlights.

      132. As a direct and proximate result of GM’s unfair or deceptive acts and

practices alleged herein, Plaintiffs and Class Members suffered and will continue to

suffer actual damages, which they are entitled to recover to the extent permitted by

law, in an amount to be proven at trial.

      133. Plaintiff Anderson and Members of the Class are entitled to recover


                                           43
Case 2:19-cv-11100-LVP-EAS ECF No. 1, PageID.44 Filed 04/16/19 Page 44 of 69




actual damages, all costs, attorneys’ fees, statutory fees and penalties, exemplary

damages, consequential damages, and to receive any available equitable remedy.

                         SECOND CAUSE OF ACTION
                       FRAUDULENT CONCEALMENT
                     (On behalf of the Maryland Subclass)

      134. Plaintiff Anderson incorporates by reference the allegations contained

in the foregoing paragraphs of this Complaint as if set forth fully herein.

      135. GM intentionally concealed the Headlight Defect, or acted with

reckless disregard for the truth, and denied Plaintiff Anderson and Maryland

Subclass members information that is highly relevant to their purchasing decision.

      136. GM further affirmatively concealed from Plaintiff Anderson and

Maryland Subclass members in advertising and other outlets of communication, that

the Class Vehicles it was selling had no significant defects, and would perform and

operate properly when driven in normal usage.

      137. GM knew at the time it actively concealed this information that this

information was material.

      138. The Class Vehicles purchased or leased by Plaintiff Anderson and the

other Class members were, in fact, defective, unsafe, and unreliable because the

Class Vehicles contained Headlight Defect, as alleged herein.

      139. GM owed Plaintiff Anderson and Maryland Subclass members a duty

to disclose true safety, performance, and reliability of Class Vehicles because


                                          44
Case 2:19-cv-11100-LVP-EAS ECF No. 1, PageID.45 Filed 04/16/19 Page 45 of 69




Plaintiff Anderson and Maryland Subclass members relied on GM’s material

representations that the Class Vehicles they were purchasing were safe and free from

defects.

      140. The aforementioned concealment of the Headlight Defect was material

because if it had been disclosed Plaintiff Anderson and Maryland Subclass members

would not have bought or leased the Class Vehicles or would not have bought or

leased those Vehicles at the prices they paid.

      141. Plaintiff Anderson and Maryland Subclass members relied on GM’s

reputation, advertising, and its failure to disclose the faulty and defective nature of

the headlights – in purchasing or leasing Class Vehicles.

      142. As a result of their reliance, Plaintiff Anderson and Maryland Subclass

members have been injured in an amount to be proven at trial, including, but not

limited to, their lost benefit of the bargain and overpayment at the time of purchase

or lease and/or the diminished value of their Class Vehicles.

      143. GM’s conduct was knowing, intentional, with malice, demonstrated a

complete lack of care, and was in reckless disregard for the rights of Plaintiff

Anderson and Maryland Subclass members. Plaintiff Anderson and Maryland

Subclass members are therefore entitled to an award of punitive damages.

      144. Plaintiff Anderson and Maryland Subclass members are entitled to

recover actual damages, all costs, attorneys’ fees, statutory fees and penalties,


                                          45
Case 2:19-cv-11100-LVP-EAS ECF No. 1, PageID.46 Filed 04/16/19 Page 46 of 69




exemplary damages, consequential damages, and to receive any available equitable

remedy.

                          THIRD CAUSE OF ACTION
                           UNJUST ENRICHMENT
                     (On behalf of the Maryland Subclass)

      145. Plaintiff Anderson incorporates by reference the allegations contained

in the foregoing paragraphs of this Complaint as if set forth fully herein.

      146. GM has received and retained a benefit from Plaintiff Anderson and

Maryland Subclass members and inequity has resulted.

      147. GM has benefitted from selling and leasing defective cars whose value

was artificially inflated by GM’s concealment of the Headlight Defect at a profit,

Plaintiff Anderson and Maryland Subclass members have overpaid for the cars and

been forced to pay other costs.

      148. Thus, Plaintiff Anderson and all Maryland Subclass members conferred

a benefit on GM.

      149. It is inequitable for GM to retain these benefits.

      150. Plaintiff Anderson and Maryland Subclass members were not aware of

the true facts about the Class Vehicles, and did not benefit from GM’s conduct.

      151. GM knowingly accepted the benefits of its unjust conduct.

      152. As a result of GM’s conduct, the amount of its unjust enrichment should

be disgorged, in an amount according to proof.


                                          46
Case 2:19-cv-11100-LVP-EAS ECF No. 1, PageID.47 Filed 04/16/19 Page 47 of 69




      153. In addition to disgorgement, Plaintiffs are entitled to any other available

damage and/or equitable remedy.

                  FOURTH CAUSE OF ACTION
     BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
                 (MD. CODE COM. LAW § 2-314)
              (On behalf of the Maryland Subclass)

      154. Plaintiff Anderson incorporates by reference the allegations contained

in the foregoing paragraphs of this Complaint as if set forth fully herein.

      155. GM was at all relevant times the manufacturer, distributor,

warrantor, and/or seller of the Class Vehicles. GM knew or had reason to know

of the specific use for which the Class Vehicles were purchased or leased.

      156. By operation of law, GM provided Plaintiff Anderson and Maryland

Subclass members with an implied warranty that the Class Vehicles and their

components and parts are merchantable and fit for the ordinary purposes for

which they were sold.

      157. This implied warranty included, among other things: (i) a warranty that

the Class Vehicles and their headlights manufactured, supplied, distributed, and/or

sold by GM were safe and reliable for providing transportation; and (ii) a warranty

that the Class Vehicles and their headlights would be fit for their intended use while

the Class Vehicles were being operated.

      158. Contrary to the applicable implied warranties, the Class Vehicles

and their headlights at the time of sale and thereafter were not fit for their

                                          47
Case 2:19-cv-11100-LVP-EAS ECF No. 1, PageID.48 Filed 04/16/19 Page 48 of 69




ordinary and intended purpose of providing Plaintiff Anderson and Maryland

Subclass members with reliable, durable, and safe transportation. Instead, the

Class Vehicles are dangerous due to the Headlight Defect.

      159. The Headlight Defect is inherent in each Class Vehicle and was

present in each Class Vehicle at the time of sale.

      160. GM provided notice of these issues by complaints lodged by consumers

with NHTSA—which vehicle manufacturers like GM routinely monitor—before or

within a reasonable amount of time after the allegations of the Class Vehicle defects

became public.

      161. GM’s actions, as complained of herein, breached the implied warranty

that the Class Vehicles were of merchantable quality and fit for such use.

      162. As a result of GM’s breach of the applicable implied warranties, owners

and/or lessees of the Class Vehicles suffered an ascertainable loss of money,

property, and/or value of their Class Vehicles.

      163. Additionally, as a result of the Headlight Defect, Plaintiff Anderson and

Maryland Subclass members were harmed and suffered actual damages, in an

amount to be proven at trial, in that the Class Vehicles’ headlight components are

substantially certain to fail before their expected useful life has run. Plaintiff

Anderson and Maryland Subclass members are entitled to recover actual damages,

all costs, attorneys’ fees, statutory fees and penalties, exemplary damages,


                                         48
Case 2:19-cv-11100-LVP-EAS ECF No. 1, PageID.49 Filed 04/16/19 Page 49 of 69




consequential damages, and to receive any available equitable remedy.

                 FIFTH CAUSE OF ACTION
    VIOLATION OF NEW YORK GENERAL BUSINESS LAW § 349
            (On behalf of the New York Subclass Only)

      164. Plaintiff LaTorre incorporates by reference the foregoing allegations of

this Complaint as if fully set forth herein.

      165. As described in detail above, GM’s failure to disclose and active

concealment of the defective nature of the headlights from Plaintiffs and Class

Members and its representation that the Class Vehicles and their headlights were of

a particular standard and quality when they were not, has been, and continues to be,

materially misleading and deceptive to Plaintiffs and members of the Class in

material respects, in violation of the consumer protection provisions of § 349 of the

New York General Business Law.

      166. Plaintiff LaTorre and New York Subclass members have been, and

continue to be, injured by reason of their being deceived and misled by GM.

      167. GM’s misleading and deceptive misconduct is ongoing and will

continue unless enjoined by the Court.

      168. Based upon the foregoing, Plaintiff LaTorre and New York Subclass

members are entitled to a restraining order, preliminary injunction and permanent

injunction, enjoining GM from continuing its unfair, deceptive, and unlawful

conduct.



                                           49
Case 2:19-cv-11100-LVP-EAS ECF No. 1, PageID.50 Filed 04/16/19 Page 50 of 69




       169. Based upon the foregoing, Plaintiff LaTorre and New York Subclass

members are entitled to recover their actual damages.

       170. Based upon the foregoing, Plaintiff LaTorre and New York Subclass

members are entitled to payment of their attorneys’ fees.

       171. Plaintiff LaTorre and New York Subclass members have no remedy at

law.

       172. As a result of GM’s violations of General Business Law § 349, Plaintiff

LaTorre and New York Subclass members are entitled, under General Business Law

§ 349(h), to recover damages in an amount to be determined at trial. Plaintiff LaTorre

and members of the class are entitled to recover actual damages, all costs, attorneys’

fees, statutory fees and penalties, exemplary damages, consequential damages and

to receive any available equitable remedy.

                 SIXTH CAUSE OF ACTION
   VIOLATION OF NEW YORK FALSE ADVERTISING LAW § 350
           (On behalf of the New York Subclass Only)

       173. Plaintiff LaTorre incorporates by reference the foregoing allegations of

this Complaint as if fully set forth herein.

       174. As described in detail above, GM has repeatedly and persistently

engaged in materially deceptive, misleading or false advertising: disseminating

deceptive, misleading or false advertising regarding the Class Vehicles and that their

headlights were of a particular standard and quality when they were not, that was



                                           50
Case 2:19-cv-11100-LVP-EAS ECF No. 1, PageID.51 Filed 04/16/19 Page 51 of 69




directed at and which affected consumers, including purchasers of the class vehicles,

a group that includes Plaintiff La Torre, in violation of the consumer protection

provisions of § 350 and 350a of the New York General Business Law.

      175. GM’s deceptive, misleading, or false advertising are likely to mislead,

and have mislead, reasonable consumers and purchasers of the Class Vehicles.

      176. Plaintiff LaTorre and members of the New York Subclass reasonable

and justifiable relied on GM’s deceptive, misleading or false advertising in

purchasing the class vehicles.

      177. GM’s violation of Section 350 has caused Plaintiff LaTorre and New

York Subclass members to suffer injury including, inter alia, buying the Class

Vehicles with the Headlight Defect. Plaintiff LaTorre and New York Subclass

members have been, and continue to be, injured by reason of their being deceived

and misled by GM.

      178. GM’s deceptive practices were consumer-oriented. Since its ads and

marketing materials were distributed to the public, its dealerships are open to the

public, and the Class Vehicles are available to the public through its website, large

numbers of consumers purchased the class videos.

      179. Additionally, GM’s deceptive conduct undermined New York’s

interest in an honest marketplace in which economic activity is conducted in a fair

and competitive manner.



                                         51
Case 2:19-cv-11100-LVP-EAS ECF No. 1, PageID.52 Filed 04/16/19 Page 52 of 69




       180. GM’s conduct was knowing and intentional.

       181. GM’s misleading and deceptive misconduct is ongoing and will

continue unless enjoined by the Court.

       182. Based upon the foregoing, Plaintiff LaTorre and New York Subclass

members are entitled to a restraining order, preliminary injunction and permanent

injunction, enjoining GM from continuing its unfair, deceptive, and unlawful

conduct.

       183. Based upon the foregoing, Plaintiff LaTorre and New York Subclass

members are entitled to recover their actual damages.

       184. Based upon the foregoing, Plaintiff LaTorre and New York Subclass

members are entitled to payment of their attorneys’ fees.

       185. Plaintiff LaTorre and New York Subclass members have no remedy at

law.

       186. As a result of GM’s violations of General Business Law § 349, Plaintiff

LaTorre and New York Subclass members are entitled, under General Business Law

§ 350(e), to recover all applicable damages, including treble damages, punitive

damages, all costs, attorneys’ fees, statutory fees and penalties, exemplary damages,

consequential damages, and to receive any available equitable remedy.




                                         52
Case 2:19-cv-11100-LVP-EAS ECF No. 1, PageID.53 Filed 04/16/19 Page 53 of 69




                      SEVENTH CAUSE OF ACTION
                     FRAUDULENT CONCEALMENT
                  (On behalf of the New York Subclass Only)

      187. Plaintiff LaTorre incorporates by reference the foregoing allegations of

this Complaint as if fully set forth herein.

      188. GM intentionally concealed the Headlight Defect, or acted with

reckless disregard for the truth, and denied Plaintiff LaTorre and New York Subclass

members information that is highly relevant to their purchasing decision.

      189. GM further affirmatively concealed from Plaintiff LaTorre and New

York Subclass members in advertising and other outlets of communication, that the

Class Vehicles it was selling had no significant defects, and would perform and

operate properly when driven in normal usage.

      190. GM knew at the time it actively concealed this information that the

Headlight Defect existed that this information was material.

      191. The Class Vehicles purchased or leased by Plaintiff LaTorre and New

York Subclass members were, in fact, defective, unsafe, and unreliable because the

Class Vehicles contained Headlight Defect, as alleged herein.

      192. GM owed Plaintiff LaTorre a duty to disclose true safety, performance,

and reliability of Class Vehicles because Plaintiff LaTorre and New York Subclass

members relied on GM’s material representations that the Class Vehicles they were

purchasing were safe and free from defects.



                                           53
Case 2:19-cv-11100-LVP-EAS ECF No. 1, PageID.54 Filed 04/16/19 Page 54 of 69




      193. The aforementioned concealment of the Headlight Defect was material

because if it had been disclosed Plaintiff LaTorre and New York Subclass members

would not have bought or leased the Class Vehicles, or would not have bought or

leased those Vehicles at the prices they paid.

      194. Plaintiff LaTorre and New York Subclass members relied on GM’s

reputation, advertising, and its failure to disclose the faulty and defective nature of

the headlights – in purchasing or leasing Class Vehicles.

      195. As a result of their reliance, Plaintiff LaTorre and New York Subclass

members have been injured in an amount to be proven at trial, including, but not

limited to, their lost benefit of the bargain and overpayment at the time of purchase

or lease and/or the diminished value of their Class Vehicles.

      196. GM’s conduct was knowing, intentional, with malice, demonstrated a

complete lack of care, and was in reckless disregard for the rights of Plaintiff

LaTorre and New York Subclass members. Plaintiff LaTorre and New York

Subclass members are therefore entitled to an award of punitive damages.

      197. Plaintiff LaTorre and the New York Subclass are entitled to recover

actual damages, punitive damages, all costs, attorneys’ fees, statutory fees and

penalties, exemplary damages, consequential damages, and to receive any available

equitable remedy.




                                          54
Case 2:19-cv-11100-LVP-EAS ECF No. 1, PageID.55 Filed 04/16/19 Page 55 of 69




                  EIGHTH CAUSE OF ACTION
        UNJUST ENRICHMENT (NEW YORK COMMON LAW)
             (On behalf of the New York Subclass Only)

      198. Plaintiff LaTorre incorporates by reference the foregoing allegations of

this Complaint as if fully set forth herein.

      199. GM has received and retained a benefit from Plaintiff LaTorre and New

York Subclass members and inequity has resulted.

      200. GM has benefitted from selling and leasing defective cars whose value

was artificially inflated by GM’s concealment of the Headlight Defect at a profit,

and Plaintiff LaTorre and New York Subclass members have overpaid for the cars

and been forced to pay other costs.

      201. Thus, Plaintiff LaTorre and all New York Subclass members conferred

a benefit on GM.

      202. It is inequitable for GM to retain these benefits.

      203. Plaintiff LaTorre and the New York Subclass were not aware of the true

facts about the Class Vehicles, and did not benefit from GM’s conduct.

      204. GM knowingly accepted the benefits of its unjust conduct.

      205. As a result of GM’s conduct, the amount of its unjust enrichment should

be disgorged, in an amount according to proof.

      206. Plaintiff LaTorre and the New York Subclass are entitled to recover

actual damages, punitive damages, all costs, attorneys’ fees, statutory fees and



                                           55
Case 2:19-cv-11100-LVP-EAS ECF No. 1, PageID.56 Filed 04/16/19 Page 56 of 69




penalties, exemplary damages, consequential damages, and to receive any available

equitable remedy.

                 NINTH CAUSE OF ACTION
     BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
                             (NY U.C.C. Law § 2-314))
                  (On behalf of the New York Subclass Only)

      207. Plaintiff LaTorre incorporates by reference the foregoing allegations of

this Complaint as if fully set forth herein.

      208. GM was at all relevant times the manufacturer, distributor, warrantor,

and/or seller of the Class Vehicles. GM knew or had reason to know of the specific

use for which the Class Vehicles were purchased or leased.

      209. By operation of law, GM provided Plaintiff LaTorre and New York

Subclass members with an implied warranty that the Class Vehicles and their

components and parts are merchantable and fit for the ordinary purposes for which

they were sold.

      210. This implied warranty included, among other things: (i) a warranty that

the Class Vehicles and their headlights manufactured, supplied, distributed, and/or

sold by GM were safe and reliable for providing transportation; and (ii) a warranty

that the Class Vehicles and their headlights would be fit for their intended use while

the Class Vehicles were being operated.

      211. Contrary to the applicable implied warranties, the Class Vehicles and

their headlights at the time of sale and thereafter were not fit for their ordinary and


                                           56
Case 2:19-cv-11100-LVP-EAS ECF No. 1, PageID.57 Filed 04/16/19 Page 57 of 69




intended purpose of providing Plaintiff Williams and Class Members with reliable,

durable, and safe transportation. Instead, the Class Vehicles are dangerous due to the

Headlight Defect.

      212. The Headlight Defect is inherent in each Class Vehicle and was present

in each Class Vehicle at the time of sale.

      213. GM provided notice of these issues by complaints lodged by consumers

with NHTSA—which vehicle manufacturers like GM routinely monitor—before or

within a reasonable amount of time after the allegations of the Class Vehicle defects

became public.

      214. GM’s actions, as complained of herein, breached the implied warranty

that the Class Vehicles were of merchantable quality and fit for such use.

      215. As a result of GM’s breach of the applicable implied warranties, owners

and/or lessees of the Class Vehicles suffered an ascertainable loss of money,

property, and/or value of their Class Vehicles.

      216. Additionally, as a result of the Headlight Defect, Plaintiff LaTorre and

New York Subclass members were harmed and suffered actual damages, in an

amount to be proven at trial, in that the Class Vehicles’ headlight components are

substantially certain to fail before their expected useful life has run.

      217. Plaintiff LaTorre and New York Subclass members are entitled to

recover actual damages, all costs, attorneys’ fees, statutory fees and penalties,



                                           57
Case 2:19-cv-11100-LVP-EAS ECF No. 1, PageID.58 Filed 04/16/19 Page 58 of 69




exemplary damages, consequential damages, and to receive any available equitable

remedy.

                 TENTH CAUSE OF ACTION
   VIOLATION OF OHIO’S DECEPTIVE TRADE PRACTICES ACT
             OHIO REVISED CODE §4165, ET SEQ.
              (On behalf of the Ohio Subclass Only)

      218. Plaintiff Williams incorporates by reference the allegations contained

in the foregoing paragraphs of this Complaint as if fully set forth herein.

      219. GM is a person as defined in Ohio Revised Code § 4165.01(D).

      220. As described in detail above, by failing to disclose and actively

concealing the defective nature of the headlights from Plaintiff Williams and Ohio

Subclass members, GM violated § 4165.02, as it represented that the Class Vehicles

and their headlights had characteristics and benefits that they do not have and that

the Class Vehicles and their headlights were of a particular standard, quality, or

grade when they were of another.

      221. GM’s unfair and deceptive acts or practices occurred repeatedly in

GM’s trade or business, were capable of deceiving a substantial portion of the

purchasing public, and imposed a serious safety risk on the public.

      222. As a direct and proximate result of GM’s unfair or deceptive acts and

practices alleged herein, Plaintiff Williams and Ohio Subclass members suffered and

will continue to suffer actual damages, which they are entitled to recover to the

extent permitted by law, in an amount to be proven at trial.

                                          58
Case 2:19-cv-11100-LVP-EAS ECF No. 1, PageID.59 Filed 04/16/19 Page 59 of 69




      223. Plaintiff Williams and Ohio Subclass members are entitled to recover

actual damages, all costs, attorneys’ fees, statutory fees and penalties, exemplary

damages, consequential damages, and to receive any available equitable remedy.

                      ELEVENTH CAUSE OF ACTION
                      FRAUDULENT CONCEALMENT
                     (On behalf of the Ohio Subclass Only)

      224. Plaintiff Williams incorporates by reference the foregoing allegations

of this Complaint as if fully set forth herein.

      225. GM intentionally concealed the Headlight Defect, or acted with

reckless disregard for the truth, and denied Plaintiff Williams and Ohio Subclass

members information that is highly relevant to their purchasing decision.

      226. GM further affirmatively concealed from Plaintiff Williams and Ohio

Subclass members in advertising and other outlets of communication, that the Class

Vehicles it was selling had no significant defects, and would perform and operate

properly when driven in normal usage.

      227. GM knew at the time it actively concealed this information that this

information was material.

      228. The Class Vehicles purchased or leased by Plaintiff Williams and Ohio

Subclass members were, in fact, defective, unsafe, and unreliable because the Class

Vehicles contained Headlight Defect, as alleged herein.

      229. GM owed Plaintiff Williams and Ohio Subclass members a duty to



                                           59
Case 2:19-cv-11100-LVP-EAS ECF No. 1, PageID.60 Filed 04/16/19 Page 60 of 69




disclose true safety, performance, and reliability of Class Vehicles because Plaintiff

Williams and Ohio Subclass members relied on GM’s material representations that

the Class Vehicles they were purchasing were safe and free from defects.

      230. The aforementioned concealment of the Headlight Defect was material

because if it had been disclosed Plaintiff Williams and Ohio Subclass members

would not have bought or leased the Class Vehicles, or would not have bought or

leased those Vehicles at the prices they paid.

      231. Plaintiff Williams and Ohio Subclass members relied on GM’s

reputation, advertising, and its failure to disclose the faulty and defective nature of

the headlights – in purchasing or leasing Class Vehicles.

      232. As a result of their reliance, Plaintiff Williams and Ohio Subclass

members have been injured in an amount to be proven at trial, including, but not

limited to, their lost benefit of the bargain and overpayment at the time of purchase

or lease and/or the diminished value of their Class Vehicles.

      233. GM’s conduct was knowing, intentional, with malice, demonstrated a

complete lack of care, and was in reckless disregard for the rights of Plaintiff

Williams and Ohio Subclass members. Plaintiff Williams and Ohio Subclass

members are therefore entitled to an award of punitive damages.

      234. Plaintiff Williams and Ohio Subclass members are entitled to recover

actual damages, punitive damages, all costs, attorneys’ fees, statutory fees and



                                          60
Case 2:19-cv-11100-LVP-EAS ECF No. 1, PageID.61 Filed 04/16/19 Page 61 of 69




penalties, exemplary damages, consequential damages, and to receive any available

equitable remedy.

                    THIRTEENTH CAUSE OF ACTION
                         UNJUST ENRICHMENT
                    (On behalf of the Ohio Subclass Only)

      235. Plaintiff Williams incorporates by reference the foregoing allegations

of this Complaint as if fully set forth herein.

      236. GM has received and retained a benefit from Plaintiff Williams and

Ohio Subclass members and inequity has resulted.

      237. GM has benefitted from selling and leasing defective cars whose value

was artificially inflated by GM’s concealment of the Headlight Defect at a profit,

and Plaintiff Williams and Ohio Subclass members have overpaid for the cars and

been forced to pay other costs.

      238. Thus, Plaintiff Williams and Ohio Subclass members conferred a

benefit on GM.

      239. It is inequitable for GM to retain these benefits.

      240. Plaintiff Williams and Ohio Subclass members were not aware of the

true facts about the Class Vehicles, and did not benefit from GM’s conduct.

      241. GM knowingly accepted the benefits of its unjust conduct.

      242. As a result of GM’s conduct, the amount of its unjust enrichment should

be disgorged, in an amount according to proof.


                                           61
Case 2:19-cv-11100-LVP-EAS ECF No. 1, PageID.62 Filed 04/16/19 Page 62 of 69




      243. Plaintiff Williams and Ohio Subclass members are entitled to recover

actual damages, punitive damages, all costs, attorneys’ fees, exemplary damages,

consequential damages, and to receive any available equitable remedy

             FOURTEENTH CAUSE OF ACTION
     BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
                  (OHIO REV. CODE § 1302.27)(U.C.C. § 2-314))
                     (On behalf of the Ohio Subclass Only)

      244. Plaintiff Williams incorporates by reference the foregoing allegations

of this Complaint as if fully set forth herein.

      245. GM was at all relevant times the manufacturer, distributor, warrantor,

and/or seller of the Class Vehicles. GM knew or had reason to know of the specific

use for which the Class Vehicles were purchased or leased.

      246. By operation of law, GM provided Plaintiff Williams and Ohio

Subclass members with an implied warranty that the Class Vehicles and their

components and parts are merchantable and fit for the ordinary purposes for which

they were sold.

      247. This implied warranty included, among other things: (i) a warranty that

the Class Vehicles and their headlights manufactured, supplied, distributed, and/or

sold by GM were safe and reliable for providing transportation; and (ii) a warranty

that the Class Vehicles and their headlights would be fit for their intended use while

the Class Vehicles were being operated.

      248. Contrary to the applicable implied warranties, the Class Vehicles and


                                           62
Case 2:19-cv-11100-LVP-EAS ECF No. 1, PageID.63 Filed 04/16/19 Page 63 of 69




their headlights at the time of sale and thereafter were not fit for their ordinary and

intended purpose of providing Plaintiff Williams and Ohio Subclass members with

reliable, durable, and safe transportation. Instead, the Class Vehicles are dangerous

due to the Headlight Defect.

      249. The Headlight Defect is inherent in each Class Vehicle and was present

in each Class Vehicle at the time of sale.

      250. GM provided notice of these issues by complaints lodged by consumers

with NHTSA—which vehicle manufacturers like GM routinely monitor—before or

within a reasonable amount of time after the allegations of the Class Vehicle defects

became public.

      251. GM’s actions, as complained of herein, breached the implied warranty

that the Class Vehicles were of merchantable quality and fit for such use.

      252. As a result of GM’s breach of the applicable implied warranties, owners

and/or lessees of the Class Vehicles suffered an ascertainable loss of money,

property, and/or value of their Class Vehicles. Additionally, as a result of the

Headlight Defect, Plaintiff Williams and Ohio Subclass members were harmed and

suffered actual damages, in an amount to be proven at trial, in that the Class

Vehicles’ headlight components are substantially certain to fail before their expected

useful life has run.

      253. Plaintiff Williams and Ohio Subclass members are entitled to recover



                                          63
Case 2:19-cv-11100-LVP-EAS ECF No. 1, PageID.64 Filed 04/16/19 Page 64 of 69




actual damages, all costs, attorneys’ fees, statutory fees and penalties, exemplary

damages, consequential damages, and to receive any available equitable remedy.

               FIFTEENTH CAUSE OF ACTION
 BREACH OF IMPLIED WARRANTY UNDER THE MAGNUSON-MOSS
            WARRANTY ACT, 15 U.S.C. § 2303 et seq.
                   (on Behalf of the Classes)

      254. Plaintiffs incorporate by reference the foregoing allegations of this

Complaint as if fully set forth herein.

      255. Plaintiffs bring this cause of action on behalf of themselves and on

behalf of the Classes.

      256. The Class Vehicles are a “consumer product” within the meaning of the

Magnuson-Moss Warranty Act, 15 U.S.C. § 2301(1).

      257. Plaintiffs and Members of the Classes are “consumers” within the

meaning of the Magnuson- Moss Warranty Act, 15 U.S.C. § 2301(3).

      258. GM is a “supplier” and “warrantor” within the meaning of the

Magnuson-Moss Warranty Act, 15 U.S.C. § 2301(4)-(5).

      259. GM impliedly warranted that the Class Vehicles were of merchantable

quality and fit for such use. This implied warranty included, among other things: (i)

a warranty that the Class Vehicles and their headlights manufactured, supplied,

distributed, and/or sold by GM were safe and reliable for providing transportation;

and (ii) a warranty that the Class Vehicles and their headlights would be fit for their

intended use while being operated.

                                          64
Case 2:19-cv-11100-LVP-EAS ECF No. 1, PageID.65 Filed 04/16/19 Page 65 of 69




      260. Contrary to the applicable implied warranties, due to the Headlight

Defect, the Class Vehicles were not fit for their ordinary and intended purpose of

providing Plaintiffs and Class Members with reliable, durable, and safe

transportation.

      261. GM’s breach of its implied warranties has deprived Plaintiffs and Class

Members of the benefit of their bargain.

      262. The amount in controversy of Plaintiffs’ individual claims meets or

exceeds the sum or value of $25,000. In addition, the amount in controversy meets

or exceeds the sum or value of $50,000 (exclusive of interests and costs) computed

on the basis of all claims to be determined in this suit.

      263. GM has been afforded a reasonable opportunity to cure its breach,

including when Plaintiffs and Class Members brought their vehicles in for diagnoses

and repair of the headlights.

      264. As a direct and proximate cause of GM’s breach of implied warranties,

Plaintiffs and Class Members sustained damages and other losses in an amount to

be determined at trial. GM’s conduct damaged Plaintiffs and Class Members, who

are entitled to recover actual damages, consequential damages, specific

performance, diminution in value, costs, attorneys’ fees, and/or other relief as

appropriate.

      265. As a result of GM’s violations of the Magnuson-Moss Warranty Act as



                                           65
Case 2:19-cv-11100-LVP-EAS ECF No. 1, PageID.66 Filed 04/16/19 Page 66 of 69




alleged herein, Plaintiffs and Members of the Classes have incurred damages.

                                RELIEF REQUESTED

      Plaintiffs, on behalf of themselves and all others similarly situated, request the

Court to enter judgment against GM, as follows:

             (a)   An order certifying the proposed Classes and Subclasses,

designating Plaintiffs as named representative of the Classes and Subclasses, and

designating the undersigned as Class Counsel;

            (b)    A declaration that GM is financially responsible for notifying all

Class Members about the defective nature of the headlights, including the need for

periodic maintenance;

            (c)    An order enjoining GM from further deceptive distribution, sales,

and lease practices with respect to Class Vehicles; compelling GM to issue a

voluntary recall for the Class Vehicles pursuant to 49 U.S.C. § 30118(a); compelling

GM to remove, repair, and/or replace the Class Vehicles’ defective headlight

components with suitable alternative product(s) that do not contain the defects

alleged herein; enjoining GM from selling the Class Vehicles without disclosing the

Defective Headlight; and/or compelling GM to reform its warranty, in a manner

deemed to be appropriate by the Court, to cover the injury alleged and to notify all

Class Members that such warranty has been reformed;

            (d)    An award to Plaintiffs and the Class for compensatory, exemplary,


                                          66
Case 2:19-cv-11100-LVP-EAS ECF No. 1, PageID.67 Filed 04/16/19 Page 67 of 69




and statutory damages, including interest, in an amount to be proven at trial;

              (e)   Any and all remedies provided pursuant to the Magnuson- Moss

Warranty Act;

              (f)   A declaration that GM must disgorge, for the benefit of the Class,

all or part of the ill-gotten profits it received from the sale or lease of its Class

Vehicles, or make full restitution to Plaintiffs and Class Members;

              (g)   An award of attorneys’ fees and costs, as allowed by law;

              (h)   An award of pre-judgment and post-judgment interest, as provided

by law;

              (i)   Leave to amend the Complaint to conform to the evidence

produced at trial; and

              (j)    Such other relief, including damages at law and equitable

relief, as may be appropriate under the circumstances.


                              DEMAND FOR JURY TRIAL

          Pursuant to Federal Rule of Civil Procedure 38(b), Plaintiffs demand a trial

 by jury of any and all issues in this action so triable.

 Date: April 16, 2019                    Respectfully submitted,

                                         /s/ E. Powell Miller
                                         E. Powell Miller (P39487)
                                         Sharon Almonrode (P33938)
                                         William Kalas (P82113)


                                           67
Case 2:19-cv-11100-LVP-EAS ECF No. 1, PageID.68 Filed 04/16/19 Page 68 of 69




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                                     68
Case 2:19-cv-11100-LVP-EAS ECF No. 1, PageID.69 Filed 04/16/19 Page 69 of 69




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                                    69
